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Review of Maryland I-495 & I-270
Managed Lanes Final Environmental
Impact Statement and Final Section 4(f)
Evaluation

Prepared by Norman Marshall, President, Smart Mobility, Inc.
July 2022

smart |
mobility

Exhibit B

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I. Qualifications

| received a B.S. in Mathematics from Worcester Polytechnic Institute (1977) and an
M.S. in Engineering Sciences from Dartmouth College (1982). My studies at Dartmouth
College included graduate courses in transportation modeling.

| have 34 years of professional experience in transportation modeling and transportation
planning including 14 years at RSG Inc. (1987-2001) and 20 years at Smart Mobility Inc.
(2001-now).

My primary professional focus is regional travel demand modeling and related
transportation planning. | am a nationally known expert in this field and have completed
projects in over 30 states including work for the U.S. government, state Departments of
Transportation, Metropolitan Planning Organizations, cities and non-profit organizations.
One of my particularly notable projects is a $250,000 project with the California Air
Resources Board where | led a team including the University of California in reviewing
the state’s regional travel demand models.

| have many peer-reviewed publications and conference presentations, including
presentations at national Transportation Research Board conferences in 2017, 2018
and 2019.

| am an Associate Member of the Transportation Research Board.
My resume is attached as Appendix D.

In this report | provide my expert review of the |-495 and |-270 Managed Lanes Study
Final Environmental Impact Statement (FEIS) traffic model on behalf of the Sierra Club
Maryland Chapter. | also provided the expert review of the traffic model, which were
incorporated into the prior comments submitted by the Sierra Club Maryland Chapter.

In my opinion, the agencies have failed to comply with their own Agency guidance
concerning traffic modeling, and the output is seriously compromised as a result of
these modeling errors.

Significantly, the Agencies admitted that our SDEIS traffic model comments questioning
certain throughput figures “have merit” and that there were “anomalies in that data that
the agency re-evaluated.”' They continue in their response: “Updated throughput tables
are presented in the FEIS and have addressed the concerns identified.”* These
acknowledgements are indicative of our qualifications for accurate review of traffic

1 FEIS App’x T.2.B. Vol 2, June 17, 2022, page CO-828, hitps://oplanesmd.com/wp-
content/uploads/2022/06/68 MLS FEIS App-T-DEIS-SDEIS-CR T.2.B Volume-2 June-2022p.pdf,

? Full quote at FEIS App’x T.2.B.Vol.2, p. CO-828: “Comments questioning certain throughput figures
presented in the SDEIS, Appendix A were determined to have merit. While that Appendix presents over
1,500 figures (in Attachment G), these comments identified minor anomalies in that data that the agency
re-evaluated in the course of preparation of the FEIS and supporting technical reports. Updated
throughput tables are presented in the FEIS (Appendix A, sub-appendix G) and have addressed the
concerns identified.’

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model issues. The response also demonstrates the need for and importance of outside
expert scrutiny of traffic modeling, including assumptions, inputs, and outputs.

In order to review the traffic model, it is necessary for me to have access to the
underlying data files upon which the model was based. The request to MDOT and
FHWA for underlying data files has not been granted prior to the deadline for providing
this comment to the FEIS. In a written response, MDOT suggested that such data would
not be considered under NEPA but only as a Maryland Public Information Act request.
Any data would only be released after the end of the availability period, if ever. This
denial of underlying data during the FEIS availability period has severely hampered my
review of the traffic model.

ll. Overview of Comments

Despite lacking the data files to run and evaluate the model in detail, the material
presented in the FEIS shows that the agencies have not corrected most of the
significant problems identified in the previous review of the SDEIS,° but that the
modeling has been substantially changed since the SDEIS was issued. Specifically, it
appears that new serious errors have been introduced into the modeling process.

Some of the most fundamental rules about modeling appear to have been ignored,
including making parameter changes after model validation, altering count inputs,
running insufficient simulations for model convergence, and fitting one model to a
different inapplicable one. These things cannot be verified without access to the
underlying traffic model data.

Furthermore, generic reference to “design updates and the forecasting refinements”
cannot explain the magnitude of change in the numbers between SDEIS and FEIS.
Changes of this scale shown between SDEIS and FEIS require credible explanation,
scrutiny, and an opportunity for meaningful comment by agencies and the public.

The foundation of any transportation modeling is a validated base year model. Future
alternatives must be analyzed with the same validated model. In the FEIS, it appears
that VISSIM model parameters were modified after the base year validation, which
occurred in 2020, in order to make the modeled traffic metrics look better than they did
in the SDEIS.

3 Sierra Club et al. SDEIS Comments on 1-495 & |-270 Managed Lanes Study, November 30, 2021, p. 19,
httos://www.sierraclub.org/sites/www.sierraclub.org/files/sce/maryland-chapter/2021-12-27%20-
%20Sierra%20Club% 20et%20al.%20SDEIS%20comments.pdf “Flaws in the Metropolitan Washington
Council of Governments (“MWCOG") model include that it: (1) does not constrain traffic flow to capacity;
(2) does not properly feed congested travel times back to non-work trip destinations; (3) assumes no
increased traffic from road expansion; (4) fails to accurately forecast bottlenecks; (5) cannot calculate net
congestion tradeoffs; and (6) cannot accurately model peak period conditions. It then takes these flawed
“demand” estimates and inputs them into a capacity constrained VISSIM model that is overwhelmed and
produces erroneous output.”

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Changing parameters after model validation is an invalid practice. Whether that was
done needs to be analyzed and requires access to the underlying files. The other
notable errors also merit further scrutiny, necessitating provision of the underlying data
files.

Establishing the traffic model’s validity is paramount, because the significant throughput
changes and the sometimes doubling of travel time savings between SDEIS and FEIS
may mask model errors the significantly underestimate congestion and bottlenecks, and
thereby minimize or erase in the public record the extent of the significant adverse
impacts associated with air quality, noise, environmental justice, and more. If the
model’s validity is not verified, invalid modeling will be the basis of a 50-year private toll
lane concession that will set in motion a chain of highway expansions and associated
environmental degradation and community impacts.

il. Discussion

A. MDOT’s Withholding of Modeling Data Precludes Complete Review of
the Traffic Models Used in the [-495 and 1-270 FEIS

The FEIS modeling includes a sequence of three models:

1) the MWCOG regional model

2) a subarea model using VISIM software (introduced for the first time in the FEIS),
and

3) a VISSIM microsimulation model.

Transportation models are very complicated, and none of these models are completely
documented in the FEIS. The only way that the underlying assumptions and parameters
can be completely reviewed is by looking “under the hood” at the modeling files. |

In my work over the past 34 years reviewing environmental documents for
transportation projects, | routinely request and receive modeling files and other
underlying documentation relating to traffic models. Repeated requests for these
modeling files and additional documentation have been made for the models that were
the basis for previous draft environmental impact statements and for all three models
used as the basis for the FEIS. Most recently a request to MDOT copied to FHWA for
the data was made on June 29, 2022 (see Appendix A). On July 1, MDOT State
Highway Administration’s Public Information Act manager wrote, “We are advising you
that we do not anticipate providing these records to you within the first 10 business
days (see message in Appendix B). On July 14, 2022, four days before the end of the
availability period, MDOT SHA issued a letter saying the files could not be looked for
until receipt of $21,975.81. MDOT has failed to provide this critical underlying data. My
ability to meaningfully comment on the traffic model is therefore limited because | do not
have access to this underlying data.

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As we do not expect to receive these materials before the end of the comment period,
we can only comment on the errors and serious deficiencies that are apparent in the
FEIS. After we have reviewed the requested files, it is likely that we will identify
additional problems.

B. Flaws in the FEIS Traffic Model

1. The VISSIM Modeling Parameters Are Critical and Are Not Documented

| comment first on errors and deficiencies in the VISSIM model with a focus on the
northbound afternoon peak hour bottleneck that the project would create on the Inner
Loop. VISSIM is commercial microsimulation software sold by the German company
PTV. It represents the behavior of individual vehicles, and the visual simulations can
look very realistic. However, the FEIS’s primary performance metrics — speed/travel
time and vehicle throughput —depend heavily on driver behavior parameters that are
commonly changed from the VISSIM defaults and that are hidden from view.

The Maryland Department of Transportation State Highway Administration (MDOT
SHA) Travel Forecasting and Analysis Division (TFAD) has issued guidance for the
application of VISSIM in roadway planning in Maryland.* This guidance document
states:

Modelers are encouraged to develop driver behavior models in addition to
the default VISSIM driver behavior models. Each corridor is unique and
driver behavior models should reflect these patterns; however, TFAD
recently performed a Driving Behavior assessment, discussed below,
which could help modelers during the VISSIM calibration process.
Recommended ranges for behavior models are also discussed in this
section. (p. 3)

The paragraph is followed by seven pages of detailed recommendations for these driver
behavior parameters, including:

e standstill distance — desired distanced between the rear-bumper to front bumper
of stopped cars

e headway time — the distance in seconds the following driver desires to maintain
with the lead vehicle

e following variation — how much more distance that the desired safety distance
before the lagging driver intentionally moves closer to the lead vehicle

“Maryland Department of Transportation State Highway Division. VISSIM Modeling Guidance, updated August
2017. https://www.roads.maryland.gov/OPPEN/VISSIM%20Modeling%20Guidance%XXX-XX-XXXX.pdf

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* advanced merging — vehicles change lanes upstream of a congested on-ramp to
allow more vehicles from the ramp to merge to the mainline, thus increasing
capacity and reducing the likelihood of stopped vehicles waiting for a gap

e safety distance reduction factor for lane changes — safety distance of the trailing
vehicle on the new lanes the safety distance of the land

e static routing decisions — to limit excessive lane changing

e cooperative lane change

e waiting time for diffusion — the maximum amount of time a vehicle will wait or
stop for a necessary lane change before it is removed from the network [note:
this is a peculiar but necessary element of traffic microsimulation modeling to
prevent vehicles from being stuck in the network forever — it is like a helicopter
sweeps in and lifts a vehicle out of traffic]

e maximum deceleration for cooperative braking — to what extent the trailing
vehicle is braking cooperatively in order to allow the preceding vehicle in the
adjacent lane to perform a lane change and enter the lane in which the trailing
vehicle is traveling

All these parameters affect the FEIS speed/travel time and vehicle throughput metrics
and the different parameter ranges recommended by MDOT SHA would produce a wide
range of possible outputs. The guidance document shows a 20% reduction in
throughput between “Freeway Basic Conservative |” and “Freeway Aggressive |”
parameters and a 30% reduction in throughput between “Freeway Basic Conservative
ll’ and “Freeway Aggressive Il.” 30% is a huge difference, almost as great as the
difference between 3 lanes and 4 lanes of traffic (+33%).

Given that different parameters produce wildly different performance metrics, it is only
possible to have confidence in traffic microsimulation model outputs if the model is well
calibrated to real-world base year data and that these validated parameters are
maintained in all alternatives analyses.

Figure 1, reproduced from a Federal Highway Administration guidance document,
shows this clearly. In the figure, Calibration Step 5 appropriately includes iteratively
adjusting parameters until the desired model fit is achieved. After Step 5, these
parameters must be left unchanged in the Alternatives Analysis Step 6. This procedure
of freezing the parameters does not appear to have been followed given the magnitude
of changes between the SDEIS and FEIS.

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Figure 1: Federal Highway Administration Guidance on Microsimulation Model
Development®

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Project Scope

- Define project purpose
- Identify influence areas
~ Select approach

~ Select model

- Estimate staff ime A
* ~\
Data Collection

- Traffic volumes
- Base maps/inventory
- Field observations

See Chapter |

See Chapter 2

Work prior to

actual modeling

i v
See yo ag as
F Base Model Development )
- Input data See Chapter 3
L - Develop oo assurance
‘gi Error Checking 4 Initial
- Review Inputs See Chapter 4 modeling
Ke - Review Animation y i
Matta eticcmay Chica
ita Cae @r tle
% v
. A
Z Compare Model L, |
Sa | MOEs to Field Data 7 |
- Volumes & speeds match? Adjust Model Parameters
- Congestion in right places’? - Modify Global Parameters
- Modify Link Parameters
- Modify Route Choice Parameters irae WE.
Calibration
Acceptable A |
Match
See Chapter 5
as)
ehanasahaibs Ay iri ¥
g Alternatives Analysis *) ‘
ae 6 - Forecast Demand he
- Bisse Case See Chapter 6
- Project Alternatives ) Model
¥ ‘ Application
f; Final Report
- Key Results See Chapter 7
b - Technical Documentation ¥

Developed by the FHWA Traffic Analysis Tools Team and later adapted from Advanced Corsim Training
Manual, Short, Elliott, Hendrickson, Ine., Minnesota Department of Transportation, September 2003,

Figure 1. Microsimulation model development and application process.

> Federal Highway Administration. Traffic Analysis toolbox Volume Ill: Guidelines for Applying Traffic

Microsimulation Modeling Software, 2004.

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Appendix D of FEIS Appendix A is the VISSIM Calibration Report. It is dated December
18, 2020, and supersedes an earlier calibration effort documented in Appendix D of
DEIS Appendix C. December 18, 2020 was prior to the release of the SDEIS; therefore,
this second calibration must also be the basis for the SDEIS modeling although this
second calibration is not discussed in the SDEIS.

The FEIS VISSIM Calibration Report states that the calibration work included changes
to driver behavior parameters, link behavior types, and lane changing distances. FEIS
at Appendix A, 618 of 800.° However, no specifics are given. As discussed above, MD
SHA VISSIM guidance indicates that changes in these parameters can result in
variations in throughput as great as 30%.

Without having access to the documentation of the parameters, we can’t be confident
that the model is valid.

2. The Second VISSIM Calibration Included Large Unexplained Changes to
2017 Traffic “Counts”

This second calibration fits data better than the first calibration. However, the better fit
appears to be achieved by changing the data rather than by changing the simulated
volumes (Figure 2).

6 The appendix pages are not numbered after page 94 which is why the numbers are given in this format.

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Figure 2: Northbound Inner Loop 5-6 p.m. DEIS and FEIS Count Data and Simulated
Volumes

10,000
9,000
8,000
7,000

6,000
e=e=eFE|S Simulated
5,000
eeeeFEIS Balanced Count
000 em ()F/S Simulated

3,000 e===DFIS Count

2,000

1,000

VA-193 to Clara MD190to |-270Spur MD 187 to
GW Pkwy Bartonto J|-270Spur toMD187 _ |-270 East
Cabin John

As shown in the figure above, the FEIS simulated volume tracks very closely to the
FEIS “balanced count” but the simulated volumes did not change nearly as much
between the DEIS and the FEIS as the “counts” did. Changing the data significantly at
this point in the process after the calibration step would need to be disclosed and
justified. As shown in Figure 1 above, there is no arrow in the model development
process from Step 5 Calibration to Step 2 Data Collection.

The likely explanation for the better fit with the revised data is that the FEIS counts are
“balanced counts’, i.e., that they are the output of a spreadsheet type model. In this
case, the FEIS modelers may be (at least in part) fitting one model to another model
rather than to actual data. Any model, including a model that creates balanced traffic
counts, can then be manipulated to achieve desired results.

MDOT SHA VISSIM guidance’ (2017, p. 14) cautions strongly against the use of
balanced counts in VISSIM model calibration:

A frequent error is the use of the balanced traffic volume network for
calibration of a VISSIM model. This is an incorrect calibration method.

7? Maryland Department of Transportation State Highway Division. VISSIM Modeling Guidance, updated August
2017. https://www.roads.maryland.gov/OPPEN/VISSIM%20Modeling%20Guidance%XXX-XX-XXXX.pdf

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Calibration should not be made using the demand volume (i.e. the
balanced volume network), rather they should meet the throughput
measured in the field (i.e. raw data count). [Note: the underlining is in the
MDOT SHA document]

The FEIS’s use of balanced counts ignores MDOT’s own guidance. The decision
to use balanced counts should have been explained and justified in the FEIS.
Having the underlying data files would have permitted further elaboration on this
issue.

3. The VISSIM Modeling Appears to Rely on Invalid Parameter Adjustments
My comments on the SDEIS assumed that the existing condition 2017 VISSIM

calibration and performance metrics were identical between the DEIS and the SDEIS

because this second calibration was not disclosed in the SDEIS. The SDEIS comments

(p. 18-19) therefore wrote:

The most congested 1-495 segment today is northbound in the inner loop
in the afternoon peak hour, where the managed lanes end (documented in
Appendix C). If the managed lanes are extended into Maryland, the most
critical section similarly will be northbound in the afternoon peak hour
upstream of end of the managed lanes. Severe bottlenecks will be created
by the proposed project where managed lane traffic will have to merge
with the general-purpose lane traffic. The SDEIS acknowledges the
presence of these bottlenecks, stating: “Congestion would be present
during the PM peak period on the I-270 northbound and the |-495 inner
loop in the design year of 2045 due to downstream bottlenecks outside of
the Preferred Alternative limits. . ." SDEIS at 2-6.

The SDEIS fails to acknowledge that that project would greatly worsen
these bottlenecks but illustrates the bottleneck in the throughput metric.
The SDEIS states: “Throughput represents the number of vehicles that
pass by a given point in the roadway network in a set amount of time.
SDEIS at 3-13. The throughput numbers presented in the SDEIS indicate
that throughput in this section in the afternoon peak period in 2045 would
be much lower than today whether the project is constructed or not.

Figures 1 and 2 show throughput numbers for 5-6 p.m. and 6-7 p.m.,
respectively. The 2017 existing volumes are from the DEIS Appendix C

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and the 2045 No Build and Alternative 9G numbers are from SDEIS
Appendix C.®

These figures from our SDEIS comments are reproduced below as Figures 3 and 4.

Figure 3: Northbound Inner Loop Throughput 5-6 p.m. — 2017 from DEIS, 2045 from
SDEIS

10,000
9,000
8,000
7,000
6,000
5,000
4,000
3,000

2,000 .
, 2045 No Build
1,000 i

2045 Build

VA-193 to American Clara MD 190to I-270Spur MD 187 to
GW Pkwy Legion Bartonto |-270Spur toMD187_ |-270 East
Bridge CabinJohn

® Sierra Club et al. SDEIS Comments on I-495 & |-270 Managed Lanes Study, November 30, 2021, pp. 18-19,
https://www.sierraclub.org/sites/www.sierraclub.org/files/sce/maryland-chapter/2021-12-27%20-
%20Sierra%20Club%20et%20al.%20SDEIS%20comments.pdf

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Figure 4: Northbound Inner Loop Throughput 6-7 p.m. — 2017 from DEIS, 2045 from
SDEIS

9,000
8,000
7,000
6,000
5,000
4,000
3,000
2,000
1,000

2045 Build

2045 No Build

VA-193 to American Clara MD 190 to 1-270Spur MD 187 to
GW Pkwy Legion Bartonto 1l-270Spur toMD187_ 1-270 East
Bridge Cabin John

All these numbers are significantly different in the FEIS. Figures 5 and 6 compare
SDEIS and FEIS 2045 No Build throughput.

Figure 5: Northbound Inner Loop Throughput 5-6 p.m. FEIS 2045 No Build from
Appendix A, p. 746 of 800

6,000

5,000

4,000 FEIS 2045 No Build

3,000

—_ -_ =
—_ = =e we eS

SDEIS 2045 No Build ~<
1,000 cacti

2,000

VA-193 to American Clara MD 190 1-270 Spur MD 187
GW Pkwy Legion Bartonto tol-270 toMD_ tol-270
Bridge Cabin Spur 187 East
John

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Figure 6 Northbound Inner Loop Throughput 6-7 p.m. FEIS 2045 No Build from
Appendix A, p. 746 of 800

6,000
5,000 FEIS 2045 No Build
4,000
3,000
2,000

1,000

VA-193 toAmerican Clara MD190 1-270 MD187
GW Pkwy Legion Bartonto tol-270 Spurto  tol-270
Bridge Cabin Spur MD187 East
John

The large increases in 2045 No Build alternative throughput between the SDEIS and the
FEIS shown in Figures 5 and 6 are evidence of a serious problem because:

1) The input demand between the SDEIS and FEIS is almost identical, varying by
no more than 2% in either of the peak hours for any of the road segments.

2) The No Build highway networks in the SDEIS and FEIS are almost identical.

3) Nevertheless, the FEIS throughput is much higher than the SDEIS throughput. In
the 5-6 p.m. hour, the FEIS throughput is over twice the SDEIS throughput for
the middle four road segments.

The only plausible explanation is that the VISSIM model parameters are different
between the SDEIS and FEIS simulations. As discussed above, MDOT SHA VISSIM
guidance describes parameter sets that result in throughput differences of up to 30%.
However, as has been documented above, both the SDEIS and FEIS should rely on the
same December 2020 base year calibration. lf the parameters have been changed after
that base year calibration was completed, this would violate the most basic principle of
traffic modeling — that the alternatives modeling use a model validated with data. Any
alternatives modeling with parameters modified after validation was completed would be
invalid.

Throughput for the Preferred alternative also is significantly higher in the FEIS than in
the SDEIS as shown in Figures 7 and 8.

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Figure 7 Northbound Inner Loop Throughput 5-6 p.m. FEIS 2045 Preferred from
Appendix A, p. 754 of 800

10,000 FEIS 2045 Preferred
9,000

8,000
7,000
6,000
5,000
4,000
3,000
2,000
1,000

VA-193 toAmerican Clara MD190 |-270Spur MD 187
GW Pkwy Legion Bartonto tol-270 toMD_ tol-270
Bridge Cabin Spur 187 East
John

Figure 8: Northbound Inner Loop Throughput 6-7 p.m. FEIS 2045 Preferred from
Appendix A, p. 754 of 800

12,000 FEIS 2045 Preferred
10,000

8,000
6,000
4,000

===
ee —_—o
"<<..." *e

2,000 SDEIS 2045 Preferred “0

VA-193 American Clara MD190 1-270 MD187
toGW Legion Bartonto tol-270 Spurto tol-270
Pkwy Bridge Cabin Spur MD187 _ East

John

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The FEIS attempts to explain the improvement in performance of the Preferred
alternative between the SDEIS and the FEIS this way:

The design updates and the forecasting refinements to the Preferred
Alternative since the SDEIS show additional operational improvements.
For example, the HOT lanes are now projected to achieve the desired
speeds of 45 miles per hour (mph) or better during the peak hours, as
reported in chapter 4, Section 4.3.1. The projected operations on the inner
Loop of |-495 show an improvement over the SDEIS analysis — the
average speed in the general purpose lanes during the PM peak hour was
7 mph in the SDEIS, whereas the FEIS traffic analysis shows speeds are
around 15 mph; the congestion does not extended as far back along the
mainline; and the results are more consistent with what VDOT was
reporting for the 495 NEXT project. (FEIS, p. ES-17)

These changes are insufficient to cause this large an improvement in throughput.
Instead, it is much more likely that parameter changes are the primary cause of the
apparent improvement. If the VISSIM parameters have changed since the model
validation, the Preferred alternative modeling is invalid.

The FEIS excerpt noted above also suggests that consistency with the VDOT 495
NEXT project is desirable. This is not a valid objective. The NEXT study area extended
only as far north as River Road and the Cabin John interchange’ and therefore could
not evaluate the bottleneck that this project would cause farther north. Any attempt to
improve consistency with the NEXT modeling would be fitting one model to a different
and inapplicable model.

Fitting the model to the NEXT model should not have been done, but if it was, it should
have been disclosed clearly and not just alluded to as it is above. The Agencies’
ambiguous language deprives the public and agencies of the ability to understand and
verify what was done.

4. The VISSIM Model Does Not Appear to Use Enough Simulations for Model
Convergence

Another fundamental issue in traffic microsimulation modeling is that any single
simulation is influenced by thousands of random calculations intended to reflect random
traffic arrivals as well as a range of driver behavior in separate vehicles. For this reason,
it is necessary to average multiple simulations for reliable and comparable results. The
MDOT SHA guidance” states:

° Virginia Department of Transportation. |-495 Express Lanes Northern Extension Environmental Assessment,
February 2020, p. 2-10 - 2.11.

19 Maryland Department of Transportation State Highway Division. VISSIM Modeling Guidance, updated August
2017. https://www.roads.maryland.gov/OPPEN/VISSIM%20Modeling%20Guidance%XXX-XX-XXXX.pdf

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A minimum of 5 simulation runs must be completed before average
outputs of all runs can be used for analysis. Additional runs may be
necessary, up to 15 runs or by showing convergence of the model. (p. 14)

The FEIS states that each simulation was done 5 times (FEIS Appendix A at 54 of 800),
i.e., the minimum required by MDOT SHA. In heavily congested simulations, it generally
is necessary to average more than 5 simulations. The report does not demonstrate that
5 simulations is sufficient for convergence.

They did not document having reached convergence in the report, and so there can be
no confidence that convergence was achieved.

lf we had the underlying data files, we could have analyzed whether convergence was
achieved.

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5. The VISSIM Modeling Invalidly Shows Future Throughput Much Lower Than

Existing

Figures 9 and 10 show the Existing 2017 throughput from the FEIS along with the

SDEIS and FEIS 2045 No Build throughput.
Figure 9: Northbound Inner Loop Throughput 5-6 p.m.

9,000
8,000
7,000
6,000
5,000
4,000
3,000

2,000 SDEIS 2045 No Build ~~

FEIS 2045 No Build

1,000 Nee ee

VA-193 to American Clara MD 190 |-270Spur MD 187
GW Pkwy Legion Bartonto tol-270 toMD_ tol-270

Bridge Cabin Spur 187
John

Figure 10 Northbound Inner Loop Throughput 6-7 p.m.

10,000
9,000
8,000
7,000
6,000
5,000
4,000
3,000

2,000 . 7
1,000 SDEIS 2045 No Build ‘---"

2017

FEIS 2045 No Build

oF-=e --—*
-oor™ =—_0——-" ~~

East

VA-193 American Clara MD190 1-270 MD187
toGW Legion Bartonto tol-270 Spurto tol-270
Pkwy Bridge Cabin Spur MD187 _ East

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In the figures above, the FEIS No Build alternative throughput is considerably higher
than in the SDEIS, but it still is much lower than the existing volumes. In our SDEIS
comments (p. 22), we wrote:

There is no real-world rationale for future throughput being significantly
lower than today. Without widening, throughput will be very similar to
today because the road is already congested. With widening, throughput
also will be very similar to today because traffic flow will be metered by the
downstream bottlenecks. The SDEIS compares two sets of wrong 2045
throughput numbers and presents the difference between them as a
performance metric. This is invalid."

We continue to argue strongly that modeled future throughput that is significantly lower
than existing throughput is invalid. This error is not addressed or rebutted in the FEIS
responses to our SDEIS comments.

Very low microsimulation travel speeds that unduly suppress throughput are indicative
of gridlock and such models should not be used for alternatives analysis. The FHWA
guidance document on traffic microsimulation modeling states:

Ensure models are stable and do not create unrealistic gridlock conditions,
as this will create artificial (and dramatic) variation in outputs. '2

This conclusion is somewhat conjectural because we have not been provided with the
VISSIM model files, but nonetheless, it is highly probable that the unrealistically low
throughput numbers indicate the presence of the “unrealistic gridlock conditions” that
FHWA guidance warns about.

6. The FEIS Continues to Falsely Insist That There Is Some Increasing
“Demand” That Exists Independent of Actual Traffic Volumes

This gridlock is caused in the VISSIM model by inputting unrealistically high traffic
volumes. In our SDEIS comments (p 38 to 51), we wrote:

The SDEIS framing of “demand” vs. “throughput” is fundamentally wrong.
Demand is not a point, as anyone who has taken Economics 101 has had
hammered into them repeatedly; demand is a curve with more demand
when the price is lower and less demand when the price is higher. For un-
tolled roads, this “price” is primarily based on the value of travel time. The
generalized price for toll roads includes both cost and time. . . (p. 38)

1 Sierra Club et al. SDEIS Comments on I-495 & |-270 Managed Lanes Study, November 30, 2021, p.
22, https:/Awww.sierraclub.org/sites/www.sierraclub.org/files/sce/maryland-chapter/2021-12-27%20-
%20Sierra%20Club%20et%20al.%20SDEIS%20comments.pdf

12 Traffic Analysis Toolbox Volume Ill: Guidelines for Applying Traffic Microsimulation Modeling Software
2019 Update to the 2004 Version, https://ops.fhwa.dot.gov/publications/fhwahop18036/chapter6.htm

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The dichotomy put forward in the SDEIS of “demand” vs “throughput” does
not exist. There are only traffic volumes at the equilibrium point. The
volume Vo represents the point on the demand curve where the cost
equals Po. The “throughput” should equal this equilibrium traffic volume. . .

(p. 39)

In fact, traffic can be expected to grow little in the project corridor if the
roadway is not widened, but likely will grow significantly if it is widened. (p.
51)

Our SDEIS comments were based on economic and engineering theory. In contrast, the
FEIS relies on flawed models that are inconsistent with theory. The FEIS improperly
(and nonsensically) combines future traffic “demand” that is much higher than today
with future traffic “throughput” that is much lower than today.

Rather than accepting the limitations of the bad models, the FEIS continues to double
down on this absurd combination of unrealistically high “demand” and unrealistically low
“throughput”. Part of the FEIS response to our comments is:

... the comment extrapolates that the MLS analysis should have assumed zero
growth for the No Build Alternative as a result of likely gridlock conditions. This is
an unreasonable assumption in light of clear projected increases in regional
population and employment that can certainly increase demand for mobility, even
if congestion conditions worsen under the No Build scenario. (FEIS at Appendix
T.2.B.Vol.2 at CO-827)

The FEIS remains confused as to the nature of “demand.” As we pointed out in our
SDEIS comments and is reproduced above, demand is a curve and not a point. We
demonstrated this, in part, with excerpts from an FHWA document. We never said that
this demand curve could not shift. We said that peak period traffic volumes could not
increase significantly without expansion. Ironically, the FEIS demonstrates this in an
exaggerated way by showing lower future throughput than today. If the DEIS version of
“demand” can never be accommodated on roadways or even in an FEIS model as is
shown in Figure 11, it is a meaningless concept.

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Figure 11: Northbound Inner Loop 5-6 p.m. FEIS “Demand” vs. Throughput for No Build
and Preferred Alternatives

12,000 Dashed “Demand” — Preferred Slightly
10,000 Higher Te ae Build aN

8,000

6,000

P®eneeeees

4,000

2,000 Throughput -Preferred Much
Higher Than No Build

VA-193 toAmerican Clara MD190 |-270Spur MD 187
GW Pkwy Legion Bartonto tol-270 toMD_ tol-270
Bridge Cabin Spur 187 East
John

Although “demand” in the FEIS is a meaningless concept, as discussed above, inputting these
unrealistic numbers into the VISSIM model causes gridlock in the model and unrealistically low
throughput. It is a case of “garbage in — garbage out.” As shown in the figure, the problem is

especially bad for the No Build alternative but also is present in the Preferred alternative
modeling.

7. The Introduction of a Third Model in the FEIS Does Not Solve the Problems
with the Other Two Models

In the SDEIS, the unrealistically high traffic “demand” was derived from the MWCOG
regional travel demand model. In our SDEIS comments (p. 25) we wrote:

The MWCOG model capacity is, as is stated in the modeling reference the
“maximum volume that should be assigned to a link by the forecasting model.”
Assigned volumes that except capacity are errors and assigned volumes that
greatly exceed capacity are serious model errors.

In the DEIS, many segments of |-495, |-270 and other roads are located with v/c
[volume to capacity ratio] greater than 1.1. .. The DEIS not only does publish

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these modeling results and uses them for planning, but even goes so far as to
represent these over-capacity assignments as a performance measure. '°

In the FEIS, a third subarea VISUM model is introduced in between the MWCOG model
and the VISSIM model. While it appears that this has improved the fit between traffic
counts and base year model inputs, the VISUM model has the same inherent problems
as the MWCOG model. Traffic growth is similarly unconstrained to capacity and future
modeled traffic volumes (which the FEIS labels “demand”) are as a result much too
high.

As noted above, the 2045 No Build traffic demand in the bottleneck area discussed
above are almost identical between the SDEIS and the FEIS. Both the SDEIS and FEIS
inputs for the No Build to the VISSIM model are unrealistically high due to the
unconstrained traffic growth in the MWCOG and VISUM models. As discussed above,
inputting over-capacity traffic volumes into the VISSIM microsimulation model causes
gridlock in the model and results in unrealistically low speeds and throughput. This was
shown in the 2045 No Build throughput being lower than the existing (2017) (see
Figures 9 and 10).

13 Sierra Club et al. SDEIS Comments on 1-495 & I-270 Managed Lanes Study, November 30, 2021, p.
25, https://www.sierraclub.org/sites/www.sierraclub.org/files/sce/maryland-chapter/2021-12-2/7%20-
%20Sierra%20Club% 20et%20al.%20SDEIS%20comments.pdf

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8. History is a Better Guide Than Invalid Modeling to the Impacts of the
Proposed Project

Our SDEIS comments documented the reasonably foreseen impacts of constructing the
managed lanes based on experience in Maryland and Virginia. These impacts are
summarized in Table 1.

Table 1: Reasonably Foreseen Impacts of Constructing the Managed Lanes

Impact Basis
1) Shifts traffic from the shoulder hours Worst bottleneck on |-495 in Virginia was
into the peak hours and creates and/or created where the managed lanes end“

exacerbates bottlenecks 15

2) General-purpose lanes will be just as Virginia experience’®
congested during the peak hours as they
would have been otherwise

3) likely to make arterial congestion worse | Virginia experience’’ '®

4) Induced travel growth |-270 widening in Maryland‘? 2° 2" and
examples throughout the U.S.

5) Managed lanes will only carry about Virginia experience?
1/6 of traffic volume

4 Lazo, Luz. Virginia begins last piece of Beltway toll lanes expansion, reaching the American Legion
Bridge. Washington Post. October 7, 2021,
https://www.washingtonpost.com/transportation/2021/10/07/virginia-beltway-express-lanes-expansion/
1S Butler, Debra, Opinion: Use Caution. I-495 Toll Lanes Not as Advertised, January 14, 2022,
https://www.marylandmatters.org/2022/01/14/opinion-use-caution-i-495-toll-lanes-not-as-advertised/

16 Bell, Elisa, Transurban. 495 and 95 Express lanes: Customer choice regional benefit. Presented as
part of the Transportation Research Board’s Webinar on Ensuring Equity with Priced Managed Lanes in
April 2019. http://onlinepubs.trb.org/onlinepubs/webinars/190429. pdf

7 Trompeter, Brian. Residents fume over I-495 shoulder lane in McLean, InsideNova, January 16, 2018.
https://www.insidenova.com/news/arlington/residents-fume-over-i-495-shoulder-lane-in-

meclean/article da2f87a2-f871-11e7-8a/b-a7b93e288cea.html

18 VDOT. 1-495 Auxiliary Lane Study, May 9, 2018.
https://www.virginiadot.org/projects/resources/NorthernVirginia/l-495 study handout 5-9-18.pdf

19 19 Sipress, Alan. Md.'s Lesson: Widen the Roads, Drivers Will Come. Washington Post, January 4,
1999. httos://www.washingtonpost.com/wp-srv/digest/traffic4.htm

20 National Capital Region Transportation Planning Board, Metropolitan Washington Council of
Governments, “Comparison of 1984 Study Forecasts with Most Recent Data: I-270 Corridor, June 18,
2001.

21 National Capital Region Transportation Planning Board and Metropolitan Washington Council of
Governments. Induced Travel: Definition, Forecasting Process, and a Case Study in the Metropolitan
Washington Region, September 19, 2001. httos:/Mwww.mwcog.org/documents/2001/09/19/induced-travel-
definition-forecasting-process-and-a-case-study-in-the-metropolitan-washington-region-travel-forecasts/
22 Commonwealth of Virginia Department of Transportation Average Daily Traffic Volumes with Vehicle
Classification Data on Interstate, Arterial and Primary Route 2019.
httos://www.virginiadot.org/info/resources/Traffic 2019/AADT Primaryinterstate 2019.pdf

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6) High toll rates will price most travelers | Virginia experience*? and FEIS rates of
out up to $5.64 per mile for passenger
vehicles ($3.76 per mile with E-Z Pass) in
2021 $ + escalation that likely will exceed
the rate of inflation FEIS as 3-27 — 3-28

7) Operator will maximize revenue rather | Allowed rates are so high that the

than serving the public interest operator can “jam and harvest”, i.e., the
operator can intentionally increase
congestion to maximize profit using
industry algorithms*

The induced travel growth (#4) also will result in more energy use, greenhouse gas
emissions, and air pollution if the project is constructed.

IV. Conclusion

While a detailed analysis is hindered by the Agencies’ failure to provide the underlying
traffic model data used in the FEIS, even with the data presented in the FEIS, it is
possible to detect serious errors that appear to invalidate the model outputs. Those
outputs, some of them illogical, appear to overstate travel time savings and
inadequately capture congestion, gridlock conditions, and bottlenecks.

These outputs then lead in turn to significantly understated project harms and
significantly overstated project benefits. The model output from the flawed analyses
improperly and significantly underestimate harms associated with increased VMT,
congestion, and bottlenecks on air quality, noise, environmental justice impacts, and
more.

The multiple errors and missteps - including making parameter changes after model
validation, altering count inputs, using balanced counts, fitting one model to a different
inapplicable one, running insufficient simulations for model convergence, and reporting
invalid throughput estimates that are lower than today — could have been verified if the
underlying data files had been provided as was legally required (see footnote 3 and
Appendix A).

23 Lazo, Luz. Here’s a look at who’s using Northern Virginia’s 495 and 95 Express Lanes, Washington
Post, September 20 2018. https://www.washingtonpost.com/transportation/2018/09/20/heres-look-whos-
using-northern-virginias-express-lanes/

24 Phillips, Robert, Director of Pricing Research at Amazon, Presented at the University of California,
Berkeley ITS Transportation Seminar, February 28, 2020. Video at:
httos://its.berkeley.edu/news/revenue-maximizing-dynamic-tolls

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The abovementioned errors are serious and have real-world consequences. Illogical
and defective outputs should not be the basis for state or federal decision making.

The FEIS attempts to explain the improvement in performance of the Preferred
Alternative between the SDEIS and the FEIS as “design updates and the
forecasting refinements.” The Agencies cite average speed in the general-
purpose lanes during the PM peak hour as 7 mph in the SDEIS and 15 mph in
the FEIS.

But these changes are insufficient to cause this large an improvement in
throughput. Instead, it is much more likely that parameter changes are the
primary cause of the apparent improvement. If the VISSIM parameters have
changed since the model validation, the Preferred alternative modeling is invalid.

Changing parameters after model validation is an invalid practice. Whether that was
done needs to be analyzed and requires access to the underlying files.

Making the kinds of changes that appear to have been made to the model after model

validation would render the model invalid, and therefore invalid as a basis for decision-

making.

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V. APPENDICES

Appendix A
Letter Requesting Underlying Data Files for Traffic Model

Appendix B
MDOT SHA Response to Request for Traffic Model Underlying Data Files

Appendix C
MDOT SHA Fee Letter for Traffic Model Underlying Data Files

Appendix D
Norman Marshall CV

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Review of Maryland I-495 & I-270
Managed Lanes Final Environmental
Impact Statement and Final Section 4(f)
Evaluation

Prepared by Norman Marshall, President, Smart Mobility, Inc.
July 2022

smart <2)
mobili y

Exhibit B

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|. Qualifications

| received a B.S. in Mathematics from Worcester Polytechnic Institute (1977) and an
M.S. in Engineering Sciences from Dartmouth College (1982). My studies at Dartmouth
College included graduate courses in transportation modeling.

| have 34 years of professional experience in transportation modeling and transportation
planning including 14 years at RSG Inc. (1987-2001) and 20 years at Smart Mobility Inc.
(2001-now).

My primary professional focus is regional travel demand modeling and related
transportation planning. | am a nationally known expert in this field and have completed
projects in over 30 states including work for the U.S. government, state Departments of
Transportation, Metropolitan Planning Organizations, cities and non-profit organizations.
One of my particularly notable projects is a $250,000 project with the California Air
Resources Board where | led a team including the University of California in reviewing
the state’s regional travel demand models.

| have many peer-reviewed publications and conference presentations, including
presentations at national Transportation Research Board conferences in 2017, 2018
and 2019.

| am an Associate Member of the Transportation Research Board.
My resume is attached as Appendix D.

In this report | provide my expert review of the |-495 and |-270 Managed Lanes Study
Final Environmental Impact Statement (FEIS) traffic model on behalf of the Sierra Club
Maryland Chapter. | also provided the expert review of the traffic model, which were
incorporated into the prior comments submitted by the Sierra Club Maryland Chapter.

In my opinion, the agencies have failed to comply with their own Agency guidance
concerning traffic modeling, and the output is seriously compromised as a result of
these modeling errors.

Significantly, the Agencies admitted that our SDEIS traffic model comments questioning
certain throughput figures “have merit” and that there were “anomalies in that data that
the agency re-evaluated.”' They continue in their response: “Updated throughput tables
are presented in the FEIS and have addressed the concerns identified.”? These
acknowledgements are indicative of our qualifications for accurate review of traffic

1 FEIS App’x T.2.B. Vol 2, June 17, 2022, page CO-828, hittps://oplanesmd.com/wp-
content/uploads/2022/06/68 MLS FEIS App-T-DEIS-SDEIS-CR T.2.B Volume-2 June-2022p.pdf,

? Full quote at FEIS App’x T.2.B.Vol.2, p. CO-828: “Comments questioning certain throughput figures
presented in the SDEIS, Appendix A were determined to have merit. While that Appendix presents over
1,500 figures (in Attachment G), these comments identified minor anomalies in that data that the agency
re-evaluated in the course of preparation of the FEIS and supporting technical reports. Updated
throughput tables are presented in the FEIS (Appendix A, sub-appendix G) and have addressed the
concerns identified.”

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model issues. The response also demonstrates the need for and importance of outside
expert scrutiny of traffic modeling, including assumptions, inputs, and outputs.

In order to review the traffic model, it is necessary for me to have access to the
underlying data files upon which the model was based. The request to MDOT and
FHWA for underlying data files has not been granted prior to the deadline for providing
this comment to the FEIS. In a written response, MDOT suggested that such data would
not be considered under NEPA but only as a Maryland Public Information Act request.
Any data would only be released after the end of the availability period, if ever. This
denial of underlying data during the FEIS availability period has severely hampered my
review of the traffic model.

ll. Overview of Comments

Despite lacking the data files to run and evaluate the model in detail, the material
presented in the FEIS shows that the agencies have not corrected most of the
significant problems identified in the previous review of the SDEIS,° but that the
modeling has been substantially changed since the SDEIS was issued. Specifically, it
appears that new serious errors have been introduced into the modeling process.

Some of the most fundamental rules about modeling appear to have been ignored,
including making parameter changes after model validation, altering count inputs,
running insufficient simulations for model convergence, and fitting one model to a
different inapplicable one. These things cannot be verified without access to the
underlying traffic model data.

Furthermore, generic reference to “design updates and the forecasting refinements”
cannot explain the magnitude of change in the numbers between SDEIS and FEIS.
Changes of this scale shown between SDEIS and FEIS require credible explanation,
scrutiny, and an opportunity for meaningful comment by agencies and the public.

The foundation of any transportation modeling is a validated base year model. Future
alternatives must be analyzed with the same validated model. In the FEIS, it appears
that VISSIM model parameters were modified after the base year validation, which
occurred in 2020, in order to make the modeled traffic metrics look better than they did
in the SDEIS.

Sierra Club et al. SDEIS Comments on 1-495 & |-270 Managed Lanes Study, November 30, 2021, p. 19,
https://www.sierraclub.org/sites/www.sierraclub.org/files/sce/maryland-chapter/2021-12-27%20-
%20Sierra%20Club% 20et%20al.%20SDEIS%20comments.pdf “Flaws in the Metropolitan Washington
Council of Governments (“MWCOG") model include that it: (1) does not constrain traffic flow to capacity;
(2) does not properly feed congested travel times back to non-work trip destinations; (3) assumes no
increased traffic from road expansion; (4) fails to accurately forecast bottlenecks; (5) cannot calculate net
congestion tradeoffs; and (6) cannot accurately model peak period conditions. It then takes these flawed
“demand” estimates and inputs them into a capacity constrained VISSIM model that is overwhelmed and
produces erroneous output.”

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Changing parameters after model validation is an invalid practice. Whether that was
done needs to be analyzed and requires access to the underlying files. The other
notable errors also merit further scrutiny, necessitating provision of the underlying data
files.

Establishing the traffic model’s validity is paramount, because the significant throughput
changes and the sometimes doubling of travel time savings between SDEIS and FEIS
may mask model errors the significantly underestimate congestion and bottlenecks, and
thereby minimize or erase in the public record the extent of the significant adverse
impacts associated with air quality, noise, environmental justice, and more. If the
model’s validity is not verified, invalid modeling will be the basis of a 50-year private toll
lane concession that will set in motion a chain of highway expansions and associated
environmental degradation and community impacts.

lll. Discussion

A. MDOT’s Withholding of Modeling Data Precludes Complete Review of
the Traffic Models Used in the [-495 and I-270 FEIS

The FEIS modeling includes a sequence of three models:

1) the MWCOG regional model

2) a subarea model using VISIM software (introduced for the first time in the FEIS),
and

3) a VISSIM microsimulation model.

Transportation models are very complicated, and none of these models are completely
documented in the FEIS. The only way that the underlying assumptions and parameters
can be completely reviewed is by looking “under the hood” at the modeling files. |

In my work over the past 34 years reviewing environmental documents for
transportation projects, | routinely request and receive modeling files and other
underlying documentation relating to traffic models. Repeated requests for these
modeling files and additional documentation have been made for the models that were
the basis for previous draft environmental impact statements and for all three models
used as the basis for the FEIS. Most recently a request to MDOT copied to FHWA for
the data was made on June 29, 2022 (see Appendix A). On July 1, MDOT State
Highway Administration’s Public Information Act manager wrote, “We are advising you
that we do not anticipate providing these records to you within the first 10 business days
(see message in Appendix B). On July 14, 2022, four days before the end of the
availability period, MDOT SHA issued a letter saying the files could not be looked for
until receipt of $21,795.81. MDOT has failed to provide this critical underlying data. My
ability to meaningfully comment on the traffic model is therefore limited because | do not
have access to this underlying data.

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As we do not expect to receive these materials before the end of the comment period,
we can only comment on the errors and serious deficiencies that are apparent in the
FEIS. After we have reviewed the requested files, it is likely that we will identify
additional problems.

A. Flaws in the FEIS Traffic Model

1. The VISSIM Modeling Parameters Are Critical and Are Not Documented

| comment first on errors and deficiencies in the VISSIM model with a focus on the
northbound afternoon peak hour bottleneck that the project would create on the Inner
Loop. VISSIM is commercial microsimulation software sold by the German company
PTV. It represents the behavior of individual vehicles, and the visual simulations can
look very realistic. However, the FEIS’s primary performance metrics — speed/travel
time and vehicle throughput —depend heavily on driver behavior parameters that are
commonly changed from the VISSIM defaults and that are hidden from view.

The Maryland Department of Transportation State Highway Administration (MDOT
SHA) Travel Forecasting and Analysis Division (TFAD) has issued guidance for the
application of VISSIM in roadway planning in Maryland.‘ This guidance document
states:

Modelers are encouraged to develop driver behavior models in addition to
the default VISSIM driver behavior models. Each corridor is unique and
driver behavior models should reflect these patterns; however, TFAD
recently performed a Driving Behavior assessment, discussed below,
which could help modelers during the VISSIM calibration process.
Recommended ranges for behavior models are also discussed in this
section. (p. 3)

The paragraph is followed by seven pages of detailed recommendations for these driver
behavior parameters, including:

e standstill distance — desired distanced between the rear-bumper to front bumper
of stopped cars

e headway time — the distance in seconds the following driver desires to maintain
with the lead vehicle

e following variation — how much more distance that the desired safety distance
before the lagging driver intentionally moves closer to the lead vehicle

* Maryland Department of Transportation State Highway Division. VISSIM Modeling Guidance, updated August
2017. https://www.roads.maryland.gov/OPPEN/VISSIM%20Modeling%20Guidance%XXX-XX-XXXX.pdf

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e advanced merging — vehicles change lanes upstream of a congested on-ramp to
allow more vehicles from the ramp to merge to the mainline, thus increasing
capacity and reducing the likelihood of stopped vehicles waiting for a gap

e safety distance reduction factor for lane changes — safety distance of the trailing
vehicle on the new lanes the safety distance of the land

e static routing decisions — to limit excessive lane changing

e cooperative lane change

e waiting time for diffusion — the maximum amount of time a vehicle will wait or
stop for a necessary lane change before it is removed from the network [note:
this is a peculiar but necessary element of traffic microsimulation modeling to
prevent vehicles from being stuck in the network forever — it is like a helicopter
sweeps in and lifts a vehicle out of traffic]

* maximum deceleration for cooperative braking — to what extent the trailing
vehicle is braking cooperatively in order to allow the preceding vehicle in the
adjacent lane to perform a lane change and enter the lane in which the trailing
vehicle is traveling

All these parameters affect the FEIS speed/travel time and vehicle throughput metrics
and the different parameter ranges recommended by MDOT SHA would produce a wide
range of possible outputs. The guidance document shows a 20% reduction in
throughput between “Freeway Basic Conservative |” and “Freeway Aggressive |”
parameters and a 30% reduction in throughput between “Freeway Basic Conservative
ll” and “Freeway Aggressive II.” 30% is a huge difference, almost as great as the
difference between 3 lanes and 4 lanes of traffic (+33%).

Given that different parameters produce wildly different performance metrics, it is only
possible to have confidence in traffic microsimulation model outputs if the model is well
calibrated to real-world base year data and that these validated parameters are
maintained in all alternatives analyses.

Figure 1, reproduced from a Federal Highway Administration guidance document,
shows this clearly. In the figure, Calibration Step 5 appropriately includes iteratively
adjusting parameters until the desired model fit is achieved. After Step 5, these
parameters must be left unchanged in the Alternatives Analysis Step 6. This procedure
of freezing the parameters does not appear to have been followed given the magnitude
of changes between the SDEIS and FEIS.

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Figure 1: Federal Highway Administration Guidance on Microsimulation Model
Development®

Project Scope *
Fl - Define project purpose
- Identify influence areas
- Select approach
- Select model
- Estimate staff time
¥

See Chapter |

Work prior to
actual modeling

~ Traffic volumes
- Base maps/inventory
- Field observations ¥

See Chapter 2

i i
Data Collection
ww.

Base Model Development
~ Input data See Chapter 3

=:
L - Develop quality assurance )
2
K

W
Error Checking
- Review Inputs See Chapter 4
~ Review Animation i

Initial
modeling

acta ticemay Cui tal

rot wa @r ite try

Compare Model

MOESs to Field Data l

- Volumes & speeds match? Adjust Model Parameters

- Congestion in right places? - Modify Global Parameters

- Modify Link Parameters

- Modify Route Choice Parameters
zk

»

Pi)

Acceptable Calibration
Match

See Chapter 5

a,
POP ye tcat may Chia

cg Alternatives Analysis ) 4
- Forecast Demand = teal
~ Base Case See Chapter 6
~ Project Alternatives Model
¥ Application

= Final Report
- Key Results See Chapter 7

- Technical Documentation g

¥

Me

Developed by the FHWA Traffic Analysis Tools Team and later adapted from Advanced Corsim Training
Manual, Short, Elliott, Hendrickson, Inc., Minnesota Department of Transportation, September 2003.

Figure 1. Microsimulation model development and application process.

> Federal Highway Administration. Traffic Analysis toolbox Volume Ill: Guidelines for Applying Traffic
Microsimulation Modeling Software, 2004.

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Appendix D of FEIS Appendix A is the VISSIM Calibration Report. It is dated December
18, 2020, and supersedes an earlier calibration effort documented in Appendix D of
DEIS Appendix C. December 18, 2020 was prior to the release of the SDEIS; therefore,
this second calibration must also be the basis for the SDEIS modeling although this
second calibration is not discussed in the SDEIS.

The FEIS VISSIM Calibration Report states that the calibration work included changes
to driver behavior parameters, link behavior types, and lane changing distances. FEIS
at Appendix A, 618 of 800.6 However, no specifics are given. As discussed above, MD
SHA VISSIM guidance indicates that changes in these parameters can result in
variations in throughput as great as 30%.

Without having access to the documentation of the parameters, we can’t be confident
that the model is valid.

2. The Second VISSIM Calibration Included Large Unexplained Changes to
2017 Traffic “Counts”

This second calibration fits data better than the first calibration. However, the better fit
appears to be achieved by changing the data rather than by changing the simulated
volumes (Figure 2).

8 The appendix pages are not numbered after page 94 which is why the numbers are given in this format.

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Figure 2: Northbound Inner Loop 5-6 p.m. DEIS and FEIS Count Data and Simulated
Volumes

10,000
9,000
8,000
7,000

6,000
ese FE|S Simulated
5,000
ems FEIS Balanced Count
2000 eee ()F/S Simulated

3,000 e===DEIS Count

2,000

1,000

VA-193 to Clara MD1i190 to |-270Spur MD 187 to
GW Pkwy Bartonto 1-270Spur toMD187 1-270 East
Cabin John

As shown in the figure above, the FEIS simulated volume tracks very closely to the
FEIS “balanced count” but the simulated volumes did not change nearly as much
between the DEIS and the FEIS as the “counts” did. Changing the data significantly at
this point in the process after the calibration step would need to be disclosed and
justified. As shown in Figure 1 above, there is no arrow in the model development
process from Step 5 Calibration to Step 2 Data Collection.

The likely explanation for the better fit with the revised data is that the FEIS counts are
“balanced counts’, i.e., that they are the output of a spreadsheet type model. In this
case, the FEIS modelers may be (at least in part) fitting one model to another model
rather than to actual data. Any model, including a model that creates balanced traffic
counts, can then be manipulated to achieve desired results.

MDOT SHA VISSIM guidance’ (2017, p. 14) cautions strongly against the use of
balanced counts in VISSIM model calibration:

A frequent error is the use of the balanced traffic volume network for
calibration of a VISSIM model. This is an incorrect calibration method.

7 Maryland Department of Transportation State Highway Division. VISSIM Modeling Guidance, updated August
2017. https://www.roads.maryland.gov/OPPEN/VISSIM%20Modeling%20Guidance%XXX-XX-XXXX.pdf

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Calibration should not be made using the demand volume (i.e. the
balanced volume network), rather they should meet the throughput
measured in the field (i.e. raw data count). [Note: the underlining is in the
MDOT SHA document.]

The FEIS’s use of balanced counts ignores MDOT’s own guidance. The decision
to use balanced counts should have been explained and justified in the FEIS.
Having the underlying data files would have permitted further elaboration on this
issue.

3. The VISSIM Modeling Appears to Rely on Invalid Parameter Adjustments
My comments on the SDEIS assumed that the existing condition 2017 VISSIM

calibration and performance metrics were identical between the DEIS and the SDEIS

because this second calibration was not disclosed in the SDEIS. The SDEIS comments

(p. 18-19) therefore wrote:

The most congested |-495 segment today is northbound in the inner loop
in the afternoon peak hour, where the managed lanes end (documented in
Appendix C). If the managed lanes are extended into Maryland, the most
critical section similarly will be northbound in the afternoon peak hour
upstream of end of the managed lanes. Severe bottlenecks will be created
by the proposed project where managed lane traffic will have to merge
with the general-purpose lane traffic. The SDEIS acknowledges the
presence of these bottlenecks, stating: “Congestion would be present
during the PM peak period on the I-270 northbound and the |-495 inner
loop in the design year of 2045 due to downstream bottlenecks outside of
the Preferred Alternative limits. . ." SDEIS at 2-6.

The SDEIS fails to acknowledge that that project would greatly worsen
these bottlenecks but illustrates the bottleneck in the throughput metric.
The SDEIS states: “Throughput represents the number of vehicles that
pass by a given point in the roadway network in a set amount of time.
SDEIS at 3-13. The throughput numbers presented in the SDEIS indicate
that throughput in this section in the afternoon peak period in 2045 would
be much lower than today whether the project is constructed or not.

Figures 1 and 2 show throughput numbers for 5-6 p.m. and 6-7 p.m.,
respectively. The 2017 existing volumes are from the DEIS Appendix C
and the 2045 No Build and Alternative 9G numbers are from SDEIS
Appendix C.®

§ Sierra Club et al. SDEIS Comments on |-495 & I-270 Managed Lanes Study, November 30, 2021, pp. 18-19,
https://www.sierraclub.org/sites/www.sierraclub.org/files/sce/maryland-chapter/2021-12-27%20-
%20Sierra%20Club%20et%20al.%2Z0SDEIS%20comments.pdf

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These figures from our SDEIS comments are reproduced below as Figures 3 and 4.

Figure 3: Northbound Inner Loop Throughput 5-6 p.m. — 2017 from DEIS, 2045 from
SDEIS

10,000
9,000
8,000
7,000
6,000
5,000
4,000
3,000
2,000

2045 No Build a=
1,000

2045 Build

VA-193 to American Clara MD190to |-270Spur MD 187 to
GW Pkwy Legion Bartonto J-270Spur toMD187_ |-270 East
Bridge Cabin John

Figure 4: Northbound Inner Loop Throughput 6-7 p.m. — 2017 from DEIS, 2045 from
SDEIS
9,000
8,000
7,000
6,000
5,000
4,000
3,000
2,000
1,000

2045 Build

2045 No Build

VA-193 to American Clara MD1i90to |-270Spur MD 187 to
GW Pkwy Legion Bartonto 1-270Spur toMD187  I|-270 East
Bridge CabinJohn

All these numbers are significantly different in the FEIS. Figures 5 and 6 compare
SDEIS and FEIS 2045 No Build throughput.

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Figure 5: Northbound Inner Loop Throughput 5-6 p.m. FEIS 2045 No Build from
Appendix A, p. 746 of 800

6,000

5,000

4,000 FEIS 2045 No Build

3,000

_— =
- == =a —_— —-— -—

SDEIS 2045 No Build ~\<
1,000 eg

2,000

VA-193 to American Clara MD 190 I-270Spur MD 187
GW Pkwy Legion Bartonto tol-270 toMD_ tol-270
Bridge Cabin Spur 187 East
John

Figure 6 Northbound Inner Loop Throughput 6-7 p.m. FEIS 2045 No Build from
Appendix A, p. 746 of 800

6,000

5,000 FEIS 2045 No Build
4,000

3,000

- = -_
- == -
- = a= %
- o_o

2,008 SDEIS 2045 No Build ~s._ ___---
1,000

VA-193 toAmerican Clara MD190 1-270 MD187
GW Pkwy Legion Bartonto tol-270 Spurto  tol-270
Bridge Cabin Spur MD187 — East
John

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The large increases in 2045 No Build alternative throughput between the SDEIS and the
FEIS shown in Figures 5 and 6 are evidence of a serious problem because:

1) The input demand between the SDEIS and FEIS is almost identical, varying by
no more than 2% in either of the peak hours for any of the road segments.

2) The No Build highway networks in the SDEIS and FEIS are almost identical.

3) Nevertheless, the FEIS throughput is much higher than the SDEIS throughput. In
the 5-6 p.m. hour, the FEIS throughput is over twice the SDEIS throughput for
the middle four road segments.

The only plausible explanation is that the VISSIM model parameters are different
between the SDEIS and FEIS simulations. As discussed above, MDOT SHA VISSIM
guidance describes parameter sets that result in throughput differences of up to 30%.
However, as has been documented above, both the SDEIS and FEIS should rely on the
same December 2020 base year calibration. If the parameters have been changed after
that base year calibration was completed, this would violate the most basic principle of
traffic modeling — that the alternatives modeling use a model validated with data. Any
alternatives modeling with parameters modified after validation was completed would be
invalid.

Throughput for the Preferred alternative also is significantly higher in the FEIS than in
the SDEIS as shown in Figures 7 and 8.

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Figure 7 Northbound Inner Loop Throughput 5-6 p.m. FEIS 2045 Preferred from
Appendix A, p. 754 of 800

10,000 FEIS 2045 Preferred
9,000

8,000
7,000
6,000
5,000
4,000
3,000
2,000
1,000

VA-193 toAmerican Clara MD4190 |-270Spur MD 187
GW Pkwy Legion Bartonto tol-270 toMD_ tol-270
Bridge Cabin Spur 187 East
John

Figure 8: Northbound Inner Loop Throughput 6-7 p.m. FEIS 2045 Preferred from
Appendix A, p. 754 of 800

12,000 FEIS 2045 Preferred
10,000

8,000
6,000
4,000

= os
=
=. ~
-—_ --
=<...” ~

~

2,000 SDEIS 2045 Preferred wa

VA-193 American Clara MD190 1-270 MD187
toGW Legion Bartonto tol-270 Spurto tol-270
Pkwy Bridge Cabin Spur MD187 _— East
John

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The FEIS attempts to explain the improvement in performance of the Preferred
alternative between the SDEIS and the FEIS this way:

The design updates and the forecasting refinements to the Preferred
Alternative since the SDEIS show additional operational improvements.
For example, the HOT lanes are now projected to achieve the desired
speeds of 45 miles per hour (mph) or better during the peak hours, as
reported in chapter 4, Section 4.3.1. The projected operations on the inner
Loop of |-495 show an improvement over the SDEIS analysis — the
average speed in the general purpose lanes during the PM peak hour was
7 mph in the SDEIS, whereas the FEIS traffic analysis shows speeds are
around 15 mph; the congestion does not extended as far back along the
mainline; and the results are more consistent with what VDOT was
reporting for the 495 NEXT project. (FEIS, p. ES-17)

These changes are insufficient to cause this large an improvement in throughput.
Instead, it is much more likely that parameter changes are the primary cause of the
apparent improvement. If the VISSIM parameters have changed since the model
validation, the Preferred alternative modeling is invalid.

The FEIS excerpt noted above also suggests that consistency with the VDOT 495
NEXT project is desirable. This is not a valid objective. The NEXT study area extended
only as far north as River Road and the Cabin John interchange® and therefore could
not evaluate the bottleneck that this project would cause farther north. Any attempt to
improve consistency with the NEXT modeling would be fitting one model to a different
and inapplicable model.

Fitting the model to the NEXT model should not have been done, but if it was, it should
have been disclosed clearly and not just alluded to as it is above. The Agencies’
ambiguous language deprives the public and agencies of the ability to understand and
verify what was done.

4. The VISSIM Model Does Not Appear to Use Enough Simulations for Model
Convergence

Another fundamental issue in traffic microsimulation modeling is that any single
simulation is influenced by thousands of random calculations intended to reflect random
traffic arrivals as well as a range of driver behavior in separate vehicles. For this reason,
it is necessary to average multiple simulations for reliable and comparable results. The
MDOT SHA guidance” states:

* Virginia Department of Transportation. |-495 Express Lanes Northern Extension Environmental Assessment,
February 2020, p. 2-10 - 2.11.

10 Maryland Department of Transportation State Highway Division. VISSIM Modeling Guidance, updated August
2017. https://www.roads.maryland.gov/OPPEN/VISSIM%20Modeling%20Guidance%XXX-XX-XXXX.pdf

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A minimum of 5 simulation runs must be completed before average
outputs of all runs can be used for analysis. Additional runs may be
necessary, up to 15 runs or by showing convergence of the model. (p. 14)

The FEIS states that each simulation was done 5 times (FEIS Appendix A at 54 of 800),
i.e., the minimum required by MDOT SHA. In heavily congested simulations, it generally
is necessary to average more than 5 simulations. The report does not demonstrate that
5 simulations is sufficient for convergence.

They did not document having reached convergence in the report, and so there can be
no confidence that convergence was achieved.

lf we had the underlying data files, we could have analyzed whether convergence was
achieved.

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5. The VISSIM Modeling Invalidly Shows Future Throughput Much Lower Than
Existing

Figures 9 and 10 show the Existing 2017 throughput from the FEIS along with the
SDEIS and FEIS 2045 No Build throughput.

Figure 9: Northbound Inner Loop Throughput 5-6 p.m.

9,000
8,000
7,000
6,000
5,000
4,000
3,000

2,000 SDEIS 2045 No Build ~ <
1,000 Sis: ee

FEIS 2045 No Build

VA-193 to American _ Clara MD 190 |-270Spur MD 187
GW Pkwy Legion Bartonto tol-270 toMD_ tol-270
Bridge Cabin Spur 187 East
John

Figure 10 Northbound Inner Loop Throughput 6-7 p.m.

10,000
9,000
8,000
7,000
6,000
5,000
4,000
3,000

2017

FEIS 2045 No Build

2,000 =a a —
1,000 SDEIS 2045 No Build saa

VA-193 American Clara MD190 1-270 MD187
toGW Legion Bartonto tol-270 Spurto tol-270
Pkwy Bridge Cabin Spur MD187 _ East
John

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In the figures above, the FEIS No Build alternative throughput is considerably higher
than in the SDEIS, but it still is much lower than the existing volumes. In our SDEIS
comments (p. 22), we wrote:

There is no real-world rationale for future throughput being significantly
lower than today. Without widening, throughput will be very similar to
today because the road is already congested. With widening, throughput
also will be very similar to today because traffic flow will be metered by the
downstream bottlenecks. The SDEIS compares two sets of wrong 2045
throughput numbers and presents the difference between them as a
performance metric. This is invalid."

We continue to argue strongly that modeled future throughput that is significantly lower
than existing throughput is invalid. This error is not addressed or rebutted in the FEIS
responses to our SDEIS comments.

Very low microsimulation travel speeds that unduly suppress throughput are indicative
of gridlock and such models should not be used for alternatives analysis. The FHWA
guidance document on traffic microsimulation modeling states:

Ensure models are stable and do not create unrealistic gridlock conditions,
as this will create artificial (and dramatic) variation in outputs. '2

This conclusion is somewhat conjectural because we have not been provided with the
VISSIM model files, but nonetheless, it is highly probable that the unrealistically low
throughput numbers indicate the presence of the “unrealistic gridlock conditions” that
FHWA guidance warns about.

6. The FEIS Continues to Falsely Insist That There Is Some Increasing
“Demand” That Exists Independent of Actual Traffic Volumes

This gridlock is caused in the VISSIM model by inputting unrealistically high traffic
volumes. In our SDEIS comments (p 38 to 51), we wrote:

The SDEIS framing of “demand” vs. “throughput” is fundamentally wrong.
Demand is not a point, as anyone who has taken Economics 101 has had
hammered into them repeatedly; demand is a curve with more demand
when the price is lower and less demand when the price is higher. For un-
tolled roads, this “price” is primarily based on the value of travel time. The
generalized price for toll roads includes both cost and time. . . (p. 38)

1 Sierra Club et al. SDEIS Comments on I-495 & |-270 Managed Lanes Study, November 30, 2021, p.
22, https://www.sierraclub.org/sites/www.sierraclub.org/files/sce/maryland-chapter/2021-12-27%20-
%20Sierra%20Club% 20et%20al.%20SDEIS%20comments.pdf

12 Traffic Analysis Toolbox Volume III: Guidelines for Applying Traffic Microsimulation Modeling Software
2019 Update to the 2004 Version, https://ops.fhwa.dot.gov/publications/fhwahop18036/chapter6.htm

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The dichotomy put forward in the SDEIS of “demand” vs “throughput” does
not exist. There are only traffic volumes at the equilibrium point. The
volume Vo represents the point on the demand curve where the cost
equals Po. The “throughput” should equal this equilibrium traffic volume. . .

(p. 39)

In fact, traffic can be expected to grow little in the project corridor if the

roadway is not widened, but likely will grow significantly if it is widened. (p.
51)

Our SDEIS comments were based on economic and engineering theory. In contrast, the
FEIS relies on flawed models that are inconsistent with theory. The FEIS improperly
(and nonsensically) combines future traffic “demand” that is much higher than today
with future traffic “throughput” that is much lower than today.

Rather than accepting the limitations of the bad models, the FEIS continues to double
down on this absurd combination of unrealistically high “demand” and unrealistically low
“throughput”. Part of the FEIS response to our comments is:

... the comment extrapolates that the MLS analysis should have assumed zero
growth for the No Build Alternative as a result of likely gridlock conditions. This is
an unreasonable assumption in light of clear projected increases in regional
population and employment that can certainly increase demand for mobility, even
if congestion conditions worsen under the No Build scenario. (FEIS at Appendix
T.2.B.Vol.2 at CO-827)

The FEIS remains confused as to the nature of “demand.” As we pointed out in our
SDEIS comments and is reproduced above, demand is a curve and not a point. We
demonstrated this, in part, with excerpts from an FHWA document. We never said that
this demand curve could not shift. We said that peak period traffic volumes could not
increase significantly without expansion. Ironically, the FEIS demonstrates this in an
exaggerated way by showing lower future throughput than today. If the DEIS version of
“demand” can never be accommodated on roadways or even in an FEIS model as is
shown in Figure 11, it is a meaningless concept.

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Figure 11: Northbound Inner Loop 5-6 p.m. FEIS “Demand” vs. Throughput for No Build
and Preferred Alternatives

12,000 Dashed “Demand” = Preferred Slightly
10,000 Higher ee No eae ey %

8,000

6,000

*"®eenecanse

4,000
2,000 Throughput -Preferred Much
Higher Than No Build

VA-193 toAmerican Clara MD190 I-270Spur MD 187
GW Pkwy Legion Bartonto tol-270 toMD_ tol-270
Bridge Cabin Spur 187 East
John

Although “demand” in the FEIS is a meaningless concept, as discussed above, inputting
these unrealistic numbers into the VISSIM model causes gridlock in the model and
unrealistically low throughput. It is a case of “garbage in — garbage out.” As shown in
the figure, the problem is especially bad for the No Build alternative but also is present
in the Preferred alternative modeling.

7. The Introduction of a Third Model in the FEIS Does Not Solve the Problems
with the Other Two Models

In the SDEIS, the unrealistically high traffic “demand” was derived from the MWCOG
regional travel demand model. In our SDEIS comments (p. 25) we wrote:

The MWCOG model capacity is, as is stated in the modeling reference the
“maximum volume that should be assigned to a link by the forecasting model.”
Assigned volumes that except capacity are errors and assigned volumes that
greatly exceed capacity are serious model errors.

In the DEIS, many segments of |-495, |-270 and other roads are located with v/c
[volume to capacity ratio] greater than 1.1. . . The DEIS not only does publish

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these modeling results and uses them for planning, but even goes so far as to
represent these over-capacity assignments as a performance measure. '*

In the FEIS, a third subarea VISUM model is introduced in between the MWCOG model
and the VISSIM model. While it appears that this has improved the fit between traffic
counts and base year model inputs, the VISUM model has the same inherent problems
as the MWCOG model. Traffic growth is similarly unconstrained to capacity and future
modeled traffic volumes (which the FEIS labels “demand”) are as a result much too
high.

As noted above, the 2045 No Build traffic demand in the bottleneck area discussed
above are almost identical between the SDEIS and the FEIS. Both the SDEIS and FEIS
inputs for the No Build to the VISSIM model are unrealistically high due to the
unconstrained traffic growth in the MWCOG and VISUM models. As discussed above,
inputting over-capacity traffic volumes into the VISSIM microsimulation model causes
gridlock in the model and results in unrealistically low speeds and throughput. This was
shown in the 2045 No Build throughput being lower than the existing (2017) (see
Figures 9 and 10).

13 Sierra Club et al. SDEIS Comments on |-495 & |-270 Managed Lanes Study, November 30, 2021, p.
25, https://www.sierraclub.org/sites/www.sierraclub.org/files/sce/maryland-chapter/2021-12-27%20-
%20Sierra%20Club% 20et%20al.%20SDEIS%20comments.pdf

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8. History is a Better Guide Than Invalid Modeling to the Impacts of the
Proposed Project

Our SDEIS comments documented the reasonably foreseen impacts of constructing the
managed lanes based on experience in Maryland and Virginia. These impacts are
summarized in Table 1.

Table 1: Reasonably Foreseen Impacts of Constructing the Managed Lanes

Impact Basis
1) Shifts traffic from the shoulder hours Worst bottleneck on |-495 in Virginia was
into the peak hours and creates and/or created where the managed lanes end“4
15

exacerbates bottlenecks

2) General-purpose lanes will be just as Virginia experience '®
congested during the peak hours as they
would have been otherwise

3) likely to make arterial congestion worse | Virginia experience"’ ‘8

4) Induced travel growth |-270 widening in Maryland‘? 2° 2’ and
examples throughout the U.S.

5) Managed lanes will only carry about Virginia experience?
1/6 of traffic volume

14 Lazo, Luz. Virginia begins last piece of Beltway toll lanes expansion, reaching the American Legion
Bridge. Washington Post. October 7, 2021,
https://www.washingtonpost.com/transportation/2021/10/07/virginia-beltway-express-lanes-expansion/
'S Butler, Debra, Opinion: Use Caution. I-495 Toll Lanes Not as Advertised, January 14, 2022,
https:/Avww.marylandmatters.org/2022/01/14/opinion-use-caution-i-495-toll-lanes-not-as-advertised/

16 Bell, Elisa, Transurban. 495 and 95 Express lanes: Customer choice regional benefit. Presented as
part of the Transportation Research Board's Webinar on Ensuring Equity with Priced Managed Lanes in
April 2019. http://onlinepubs.trb.org/onlinepubs/webinars/190429. pdf

17 Trompeter, Brian. Residents fume over |-495 shoulder lane in McLean, InsideNova, January 16, 2018.
https:/Avww.insidenova.com/news/arlington/residents-fume-over-i-495-shoulder-lane-in-

mclean/article da2f87a2-f871-11e7-8a7b-a7b93e288cea.html

18 VDOT. I-495 Auxiliary Lane Study, May 9, 2018.
https:/Avww.virginiadot.org/projects/resources/NorthernVirginia/I-495 study handout 5-9-18.pdf

19 19 Sipress, Alan. Md.'s Lesson: Widen the Roads, Drivers Will Come. Washington Post, January 4,
1999. httos://Awww.washingtonpost.com/wp-srv/digest/traffic4.htm

20 National Capital Region Transportation Planning Board, Metropolitan Washington Council of
Governments, “Comparison of 1984 Study Forecasts with Most Recent Data: I-270 Corridor, June 18,
2001.

21 National Capital Region Transportation Planning Board and Metropolitan Washington Council of
Governments. Induced Travel: Definition, Forecasting Process, and a Case Study in the Metropolitan
Washington Region, September 19, 2001. hitos://www.mwcog.org/documents/2001/09/19/induced-travel-
definition-forecasting-process-and-a-case-study-in-the-metropolitan-washington-region-travel-forecasts/
22 Commonwealth of Virginia Department of Transportation Average Daily Traffic Volumes with Vehicle
Classification Data on Interstate, Arterial and Primary Route 2019.
https:/www.virginiadot.org/info/resources/Traffic 2019/AADT Primarylnterstate 2019.pdf

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6) High toll rates will price most travelers | Virginia experience? and FEIS rates of
out up to $5.64 per mile for passenger
vehicles ($3.76 per mile with E-Z Pass) in
2021 $ + escalation that likely will exceed
the rate of inflation FEIS as 3-27 — 3-28

7) Operator will maximize revenue rather | Allowed rates are so high that the

than serving the public interest operator can “jam and harvest”, i.e., the
operator can intentionally increase
congestion to maximize profit using
industry algorithms”4

The induced travel growth (#4) also will result in more energy use, greenhouse gas
emissions, and air pollution if the project is constructed.

IV. Conclusion

While a detailed analysis is hindered by the Agencies’ failure to provide the underlying
traffic model data used in the FEIS, even with the data presented in the FEIS, it is
possible to detect serious errors that appear to invalidate the model outputs. Those
outputs, some of them illogical, appear to overstate travel time savings and
inadequately capture congestion, gridlock conditions, and bottlenecks.

These outputs then lead in turn to significantly understated project harms and
significantly overstated project benefits. The model output from the flawed analyses
improperly and significantly underestimate harms associated with increased VMT,
congestion, and bottlenecks on air quality, noise, environmental justice impacts, and
more.

The multiple errors and missteps - including making parameter changes after model
validation, altering count inputs, using balanced counts, fitting one model to a different
inapplicable one, running insufficient simulations for model convergence, and reporting
invalid throughput estimates that are lower than today — could have been verified if the
underlying data files had been provided as was legally required (see footnote 3 and
Appendix A).

23 Lazo, Luz. Here's a look at who's using Northern Virginia's 495 and 95 Express Lanes, Washington
Post, September 20 2018. https://www.washingtonpost.com/transportation/2018/09/20/heres-look-whos-
using-northern-virginias-express-lanes/

24 Phillips, Robert, Director of Pricing Research at Amazon, Presented at the University of California,
Berkeley ITS Transportation Seminar, February 28, 2020. Video at:
https://its.berkeley.edu/news/revenue-maximizing-dynamic-tolls

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The abovementioned errors are serious and have real-world consequences. Illogical
and defective outputs should not be the basis for state or federal decision making.

The FEIS attempts to explain the improvement in performance of the Preferred
Alternative between the SDEIS and the FEIS as “design updates and the
forecasting refinements.” The Agencies cite average speed in the general-
purpose lanes during the PM peak hour as 7 mph in the SDEIS and 15 mph in
the FEIS.

But these changes are insufficient to cause this large an improvement in
throughput. Instead, it is much more likely that parameter changes are the
primary cause of the apparent improvement. If the VISSIM parameters have
changed since the model validation, the Preferred alternative modeling is invalid.

Changing parameters after model validation is an invalid practice. Whether that was
done needs to be analyzed and requires access to the underlying files.

Making the kinds of changes that appear to have been made to the model after model
validation would render the model invalid, and therefore invalid as a basis for decision
making.

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V. APPENDICES

Appendix A
Letter Requesting Underlying Data Files for Traffic Model

Appendix B
MDOT SHA Response to Request for Traffic Model Underlying Data Files

Appendix C
MDOT SHA Fee Letter for Traffic Model Underlying Data Files

Appendix D
Norman Marshall CV

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Highway Administration

707 North Calvert Street

Mail Stop P-601

Baltimore, MD 21202
495-270-P3@sha.state.md.us

Re: 1-495 & I-270 Managed Lanes Study DEIS Traffic Files/Data

Dear Mr. Folden,

We request that MDOT provide the requested traffic spreadsheets and model files underlying its conclusions
in the FEIS, no later than July 7, 2022. To do a full review of the traffic modeling in the FEIS, including
understanding changes between the FEIS modeling and the SDEIS modeling, we require the following traffic
modeling files and documentation:

1) VISSIM output files corresponding to the information presented in FEIS Appendix A
(01_MLS_FEIS_AppA_Traffic-Tech-Report_June-2022p.pdf), Appendix H: Existing and Future
Level of Service (p. 756-800)

2) All VISSIM input files required to recreate the outputs described in #1

3) VISSIM output files corresponding to the information presented in SDEIS Appendix A
(SDEIS_AppA_Traffic-Evaluation-Memo_web.pdf), Attachment F: Link Evaluation (p. 145-177)

4) All VISSIM input files required to recreate the outputs described in #3

5) All reports, memorandum, letters and/or emails that describe VISSIM model development (in
addition to the information provided in FEIS Appendix A). This should include documentation of the
VISSIM model parameter changes and any other changes that were made between the publication of
the DEIS in July 2020 and the publication of the FEIS in June 2022. This also should include
documentation of how the VISSIM model develop process followed the Maryland Department of
Transportation State Highway Department Vissim Modeling Guidance document.

6) MWCOG output files that correspond to the 2045 AM Peak Travel Demand and PM Peak Travel
Demand tables for both the No Build and Preferred Alternative scenarios presented in FEIS
Appendix A, p. 737-738.

7) All MWCOG model files (except for proprietary Cube software) required to recreate the outputs
described in #6.

8) MWCOG output files that correspond to the 2045 AM Peak Travel Demand and PM Peak Travel
Demand tables for both the No Build and Alt 9 Phase | Alternative scenarios presented in SDEIS
Appendix A, p. 118-121.

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9) AH MWCOG model files (except for proprietary Cube software) required to recreate the outputs
described in #8.

10) All reports, memorandum, letters and/or emails that describe the development of the 2045 travel
demand numbers listed in #6 and #8 (in addition to the information provided in FEIS Appendix A).
This should include documentation explaining why the numbers changed between the publication of
the SDEIS in October 2021 and the publication of the FETS in June 2022.

11) All reports, memorandum, letters and/or emails that describe the VISUM model base year and future
year model development (in addition to the information provided in FEIS Appendix A).

12) VISUM base year, 2045 No Build and 2045 Preferred Alternative networks.

13) All reports, memorandum, ietters, and/or emails that describe adjustments to the VISUM trip tables
and assigned volumes (in addition to the information provided in FETS Appendix A) that provides
detail concerning the adjustments described in FEIS, p. 84 including: “adjustments required for base
year calibration”, “modified ratio adjustment method”, “additional reviews to ensure individual O-D
pair growth was reasonable” “extensive coordination and post-processing efforts, “reflected key
trends from the regional travel demand model”, and “aligning with previous and concurrent
forecasting efforts for various locations within the project study area.”

14) VISUM traffic assignment files for each analyzed hour for the base year, 2045 No Build and 2045
Preferred Altemative alternatives that link to the network files (#12).

15) AH VISUM “peak hour correction matrices” described in FEIS Appendix A p. 84.

If you have any technical questions about this request, please contact our consultant:

Norm Marshall, President
Smart Mobility Inc.
amarshall@smartmobility.com
802-356-2969

We request an expedited response for the following reasons. First, the underlying data requested is required
to be disclosed publicly with the FEIS. 40 C.PLR. § 1500.1(b) 019) (NEPA procedures must ensure that
environmental information is available to public officials and citizens before decisions are made and before
actions are taken. The information must be of high quality. Accurate scientific analysis, expert agency
comments, and public scrutiny are essential to implementing NEPA”); id. § 1502.21 (2019) (underlying data
may be incorporated by reference only if “it is reasonably available for inspection by potentially interested
persons within the time allowed for comment”); WildEarth Guardians v. Mont. Snowmobile Ass'n, 790 F 3d
920, 925 (9th Cir. 2015) (To fulfill NEPA’s public disclosure requirements, the agency must provide to the
public ‘the underlying environmental data’ from which the [agency] develops its opinions and arrives at its
decisions.”). MDOT and FHWA’s failure to provide this data before releasing the FEIS violates NEPA.

Second, this is not a request under Maryland’s Public Information Act (PIA); rather, this is a request for
data files that were required to be disclosed under NEPA. It is not subject to Maryland’s PIA procedures.

In the past, MDOT has suggested that traffic modeling data is sufficiently disclosed when it is presented
in tables of a PDF. As we have noted in prior correspondence with MDOT, final numbers presented in
tables of a PDF cannot be substituted for the actual underlying spreadsheets and model files used to
create those tables, which include formulas, calculations, and numbers that are not rounded. To reach
their conclusions in the FEIS, the Agencies were not limited merely to numbers in tables of a PDF, and
they cannot limit the public to that either.

Fourth, we request that fees be waived. This is not a request under Maryland’s PIA but rather a request
for documents that should have been disclosed in the first instance—thus no fee waiver request is
necessary. We nonetheless note that a waiver would be appropriate under Md. Code Ann., GP § 4-206(e)

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and Md. Code Regs. 11.01.13.13(A)(7); the non-profit organizations’ ability to pay fees is constrained
and the requested records are in the public interest and will enable the public to meaningfully comment
on the FEIS’s traffic conclusions. The public cannot evaluate the report fully without these documents,
and furthermore these documents were required to be disclosed in the first instance. Providing the
requested files simply requires copying and pasting computer folders to a Dropbox or other cloud-based
folder and emailing the link. In fact, Smart Mobility has requested this same type of data many times for
other highway EISs and has always been promptly provided it without charge. A non-exhaustive list
includes:

1. Florida Department of Transportation District 1 — Collier County MPO RTP Update

2. Colorado Department of Transportation — I-70 East EIS

3. Berkeley Charleston Dorchester Council of Governments (South Carolina) — RTP Update and I-
526 Extension

4. New York Department of Transportation — Hunts Point Interstate Access Improvement

Project DEIS

Southern California Association of Governments — High Dessert Corridor DEIR

Arkansas Department of Transportation — 1-30 Planning and Linkages Study

Utah Department of Transportation — West Davis Corridor DEIS

Texas Department of Transportation - RTP Update and South Mopac modeling

Charlottesville/Albemarle Metropolitan Planning Organization (Virginia) —

Charlottesville Bypass

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The requested files should be organized and readily available from the person or entity that undertook the
traffic analysis.

By not disclosing these documents, MDOT is preventing the public from meaningfully reviewing and
commenting on the traffic analysis in the FEIS. We request that MDOT immediately provide the
requested traffic spreadsheets and model files underlying its decisions in the FEIS, no later than
July 7, 2022. Because the Agencies have unlawfully hindered a proper review by not disclosing this in the
first place, and as we have requested several times in the past, we request that the FEIS comment period be
extended, consistent with letters submitted to the U.S. Department of Transportation, FHWA and MDOT,
so that the public has a reasonable opportunity to review and comment on the FEIS’s traffic analysis and

conclusions. Prckigg CMClintece

Christina C. McClintock

Jill Grant & Associates, LLC
1319 F Street NW, Suite 300
Washington, DC 20004
202-821-1951
emcclintock@)jillgrantlaw.com

cc: Gregory Murrill, FHWA
Jitesh Parikh, FHWA
Jeanette Mar, FHWA
Josh Tulkin, Sierra Club Maryland Chapter
Norm Marshall, Smart Mobility Inc.

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Christina McClintock

From: Timothy Perry <tperry1@mdot.maryland.gov>
Sent: Friday, July 1, 2022 12:26 PM

To: Christina McClintock

Subject: PIA 839412

Dear Ms. McClintock:

MDOT received your email dated June 29, 2022, which states the following:

“T am writing to request documents cited in the FEIS. As explained in the attached request, this
information is needed to meaningfully comment on the FEIS. Because of the upcoming deadline to
review the FEIS and submit comments, we request this information by Thursday, July 7. “

Given your tight time frame, we wanted to make you aware of the following information. As this is a request
for records, this falls under the Maryland Public Information Act (PIA) and is being handled accordingly. We
are in the initial stages of this request and are preparing the legally required 10-day letter which is due July 14,
2022. We are advising you that we do not anticipate providing these records to you within the first 10 business
days. As potential records will need to be retrieved, reviewed, and potentially redacted in accordance with all
State and federal laws and regulations. Keep in mind, if it is determined there is a cost associated with your
request, the 10-day letter will include the estimate cost and instructions on where to send payment. In the
meantime, MDOT SHA has publicly available documents that may assist you with your research. Those
documents can be found at: https://oplanesmd.com/

If have any questions about this PIA request, please feel free to contact me.

Sincerely,

Tim Perry

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MV

CJT Timothy R. Perry

MARYLAND DEPARTMENT | PIA Manager

OF TRANS

PORTATION.

Office of Policy and Regulations

\ P Maryland Department of Transportation

CHA

Maryland
for the Better

NGING 7201 Corporate Center Drive

Hanover, MD 21076

O 410-865-1237

tperry1@mdot.maryland.gov

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i Boyd K. Rutherford

MARYLAND DEPARTMENT Lt. Governor
OF TRANSPORTATION James F. Ports, Jr.
Secretary
STATE HIGHWAY Tim Smith, PE.
ADMINISTRATION Administrator
ee

July 14, 2022

Ms. Christina McClintock
Sierra Club, Maryland Chapter
1319 F Street NW, Suite 300
Washington DC 20004

Dear Ms. McClintock:

The Maryland Department of Transportation State Highway Administration (MDOT SHA) is in receipt of
your request (839412) pursuant to the Maryland Public Information Act, General Provisions Article (GP),
§ 4-101 ef seg., Annotated Code of Maryland. Specifically, you requested:

“We request that MDOT provide the requested traffic spreadsheets and model files underlying its
conclusions in the FEIS, no later than July 7, 2022. To do a full review of the traffic modeling in

the FEIS, including understanding changes between the FEIS modeling and the SDEIS modeling,
we require the following traffic modeling files and documentation:

1) VISSIM output files corresponding to the information presented in FEIS Appendix A

(01 MLS FEIS AppA Traffic-Tech-Report June-2022p.pdf), Appendix H: Existing and Future
Level of Service (p. 75 6-800)

2) All VISSIM input files required to recreate the outputs described in #1

3) VISSIM output files corresponding to the information presented in SDEIS Appendix A
(SDEISAppATraffic-Evaluation-Memoweb.pdf), Attachment F: Link Evaluation (p. 145-177)

4) All VISSIM input files required to recreate the outputs described in #3

5) All reports, memorandum, letters and/or emails that describe VISSIM model development (in
addition to the information provided in FEIS Appendix A). This should include documentation of
the VISSIM model parameter changes and any other changes that were made between the
publication of the DEIS in July 2020 and the publication of the FEIS in June 2022. This also
should include documentation of how the VISSIM model develop process followed the Maryland
Department of Transportation State Highway Department Vissim Modeling Guidance document.
6) MWCOG output files that correspond to the 2045 AM Peak Travel Demand and PM Peak
Travel Demand tables for both the No Build and Preferred Alternative scenarios presented in
FEIS Appendix A, p. 737-73 8.

7) All MWCOG model files (except for proprietary Cube software) required to recreate the
outputs described in #6.

8) MWCOG output files that correspond to the 2045 AM Peak Travel Demand and PM Peak
Travel Demand tables for both the No Build and Alt 9 Phase | Alternative scenarios presented in
SDEIS Appendix A, p. 118-121.

9) All MWCOG model files (except for proprietary Cube software) required to recreate the
outputs described in #8.

10) All reports, memorandum, letters and/or emails that describe the development of the 2045
travel demand numbers listed in #6 and #8 (in addition to the information provided in FEIS

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Ms. Christina McClintock
Page Two

Appendix A). This should include documentation explaining why the numbers changed between
the publication of the SDEIS in October 2021 and the publication of the FEIS in June 2022.

11) All reports, memorandum, letters and/or emails that describe the VISUM model base year and
future year model development (in addition to the information provided in FETS Appendix A).
12) VISUM base year, 2045 No Build and 2045 Preferred Alternative networks.

13) All reports, memorandum, letters, and/or emails that describe adjustments to the VISUM trip
tables and assigned volumes (in addition to the information provided in FEIS Appendix A) that
provides detail concerning the adjustments described in FEIS, p. 84 including: “adjustments
required for base year calibration”, “modified ratio adjustment method”, “additional reviews to
ensure individual O-D pair growth was reasonable” “extensive coordination and post-processing
efforts, “reflected key trends from the regional travel demand model”, and “aligning with
previous and concurrent forecasting efforts for various locations within the project study area.”
14) VISUM traffic assignment files for each analyzed hour for the base year, 2045 No Build and
2045 Preferred Alternative alternatives that link to the network files (#12).

15) All VISUM “peak hour correction matrices” described in FEIS Appendix A p. 84.

If you have any technical questions about this request, please contact our consultant:

Norm Marshall, President
Smart Mobility Inc.

nmarshallsmartmobility.com
802-356-2969

We request an expedited response for the following reasons. First, the underlying data requested
is required to be disclosed publicly with the FEIS. 40 C.F.R. § 1500.1(b) (2019) (‘NEPA
procedures must ensure that environmental information is available to public officials and citizens
before decisions are made and before actions are taken. The information must be of high quality.
Accurate scientific analysis, expert agency comments, and public scrutiny are essential to
implementing NEPA”); Id. § 1502.21 (2019) (underlying data may be incorporated by reference
only if’it is reasonably available for inspection by potentially interested persons within the time
allowed for comment”); Wi/dEarth Guardians v. Mont. Snowmobile Ass ‘i, 790 F.3d

920, 925 (9th Cir. 2015) (“To fulfill NEPA’s public disclosure requirements, the agency must
provide to the public ‘the underlying environmental data’ from which the [agency] develops its
opinions and arrives at its decisions.”). MDOT and FHWA’s failure to provide this data before
releasing the FEIS violates NEPA.

Second, this is not a request under Maryland’s Public Information Act (PTA); rather, this is a
request for data files that were required to be disclosed under NEPA. It is not subject to
Maryland’s PIA procedures.

In the past, MDOT has suggested that traffic modeling data is sufficiently disclosed when it is
presented in tables of a PDF. As we have noted in prior correspondence with MDOT, final
numbers presented in tables of a PDF cannot be substituted for the actual underlying spreadsheets
and model files used to create those tables, which include formulas, calculations, and numbers
that are not rounded. To reach their conclusions in the FEIS, the Agencies were not limited
merely to numbers in tables of a PDF, and they cannot limit the public to that either.

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Ms. Christina McClintock
Page Three

Fourth, we request that fees be waived. This is not a request under Maryland’s PIA but rather a
request for documents that should have been disclosed in the first instance—thus no fee waiver
request is necessary. We nonetheless note that a waiver would be appropriate under Md. Code
Ann., GP § 4-206(e) and Md. Code Regs. 11.01.13.13(A)(7); the non-profit organizations’ ability
to pay fees is constrained and the requested records are in the public interest and will enable the
public to meaningfully comment on the FEIS’s traffic conclusions. The public cannot evaluate the
report fully without these documents, and furthermore these documents were required to be
disclosed in the first instance. Providing the requested files simply requires copying and pasting
computer folders to a Dropbox or other cloud-based folder and emailing the link. In fact, Smart
Mobility has requested this same type of data many times for other highway EISs and has always
been promptly provided it without charge. A non-exhaustive list includes:

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2. Colorado Department of Transportation — 1-70 East EIS

3. Berkeley Charleston Dorchester Council of Governments (South Carolina) —- RTP Update and

[-526 Extension

4. New York Department of Transportation —- Hunts Point Interstate Access Improvement
Project DEIS

. Southern California Association of Governments —- High Dessert Corridor DEIR

. Arkansas Department of Transportation —- 1-30 Planning and Linkages Study

. Utah Department of Transportation — West Davis Corridor DEIS

. Texas Department of Transportation —- RTP Update and South Mopac modeling

. Charlottesville/Albemarle Metropolitan Planning Organization (Virginia) —

‘harlottesville Bypass

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The requested files should be organized and readily available from the person or entity that
undertook the traffic analysis.

By not disclosing these documents, MDOT is preventing the public from meaningfully reviewing
and commenting on the traffic analysis in the FEIS. We request that MDOT immediately provide
the requested traffic spreadsheets and model files underlying its decisions in the FEIS, no later
than July 7, 2022. Because the Agencies have unlawfully hindered a proper review by not
disclosing this in the first place, and as we have requested several times in the past, we request
that the FEIS comment period be extended, consistent with letters submitted to the U.S.
Department of Transportation, FHWA and MDOT, so that the public has a reasonable
opportunity to review and comment on the FEIS’s traffic analysis and conclusions.”

As stated in our email dated July 1, 2022, given your tight time frame, we notified you of the following
information: As this is a request for records, this falls under the Maryland Public Information Act (PIA)
and is being handled accordingly. We did not anticipate providing these records to you within the first 10
business days. Potential records will need to be retrieved, reviewed, and potentially redacted in
accordance with all State and federal laws and regulations. If it is determined there is a cost associated
with your request, the 10-day letter will include the estimate cost and instructions on where to send
payment.

Additionally, the MDOT SHA provided you with publicly available documents that may assist you with
your research. Those documents can be found at: https://oplanesmd.com/

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Ms. Christina McClintock
Page Four

On July 8, 2022, and July 12, 2022, we discussed narrowing the scope of your request to reduce costs and
staff time. You stated you would contact your client in an attempt to narrow the scope of the request. To
date, we have not received a narrowed scope of the request from you.

GP § 4-206 authorizes MDOT to charge for time incurred to prepare, search, and review documents after
the first two hours of work. We estimate that this request would require approximately 238 staff hours
with an estimated cost of $21,795.81. This estimate includes preliminary email searches for numbers 5,
10, 11, and 13 of your request that yielded approximately 2,739 potentially responsive emails. As
discussed, we are happy to work with you to further narrow the scope of your request in an effort to
reduce the cost. As you can imagine, this is a massive request that, as currently stated, may be cost
prohibitive and may not provide you with the records you are ultimately seeking. If you identify and
authorize a more targeted search, we would be happy to provide you with a revised fee estimate. Should
you wish to continue with the current requested scope, please forward a check made payable to the
Maryland Department of Transportation to:

Ms. Jean Anne Hosker

PIA Representative

MDOT State Highway Administration
707 North Calvert Street

Baltimore MD 21202-3601

Please be advised that we will not begin working on your request until and unless we receive payment. [f,
after we have completed the work, the actual cost differs from this estimate, you will either be required to
pay the balance prior to receiving the records or you will be issued a refund. If we do not

receive payment from you by July 29, 2022, we will consider the matter closed. Of course, you may
reinitiate a new request at any time.

Payment does not guarantee the full release of the records you seek. It is possible that records or
information within the records requested may be redacted or exempt from disclosure under State and/or
federal laws and/or regulations.

We have considered your organization’s request for a waiver of fees. The Maryland Department of
Transportation (MDOT) PIA policy provides a waiver process whereby each request is considered on a
request-by-request basis, which we have done in this case. We are committed to transparency and will
provide records in accordance with all laws and regulations. We also have a State fiduciary constitutional
responsibility to the citizens of Maryland to recover the public dollars expended to fulfill these requests.
While fees recovered can never fully reimburse the State for all the costs involved in researching and
processing a PIA request, MDOT policy seeks to recover as many costs as permissible to ensure the
integrity of the Transportation Trust Fund. We have carefully considered your request for a fee waiver in
the public interest and your status as a noncommercial nonprofit organization. The PIA statute does not
provide for waived fees due to a nonprofit status. MDOT SHA is ready to provide the responsive
documents to your request, but MDOT SHA will not waive the associated fees for this request.

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Ms. Christina McClintock
Page Five

Pursuant to GP § 4-362, your client is entitled to seek judicial review of this decision. Alternatively, your
client may file a request for mediation with the Public Access Ombudsman and, if the Ombudsman is
unable to resolve the matter, may subsequently seek a resolution from the Public Information Act
Compliance Board for those matters within the Compliance Board’s jurisdiction. See GP §§ 4-1A-01 ef
seq. and 4-1B-01 ef seq.

For efficiency reasons and to keep operational costs as low as possible, we encourage all requesters to
submit their PIA requests through the MDOT online form, which can be found at
www.mdot.maryland.gov. Click on the About tab at the top and then Public Information Act. You will
find all PIA Representative contact information and other helpful information.

If you have any questions, you may contact me at 410-545-0429 or jhosker@mdot.maryland.gov. I will
be happy to assist you.

Sincerely,

ean Anna Noafeor

Jean Anne Hosker
MDOT SHA PIA Representative

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mobility

Resume

NORMAN L. MARSHALL, PRESIDENT

nmarshall(@smartmobility.com

EDUCATION:

Master of Science in Engineering Sciences, Dartmouth College, Hanover, NH, 1982
Bachelor of Science in Mathematics, Worcester Polytechnic Institute, Worcester, MA, 1977

PROFESSIONAL EXPERIENCE: (34 Years, 20 at Smart Mobility, Inc.)

Norm Marshall helped found Smart Mobility, Inc. in 2001. Prior to this, he was at RSG for 14 years
where he developed a national practice in travel demand modeling. He specializes in analyzing the
relationships between the built environment and travel behavior, and doing planning that coordinates
multi-modal transportation with land use and community needs.

Regional Land Use/Transportation Scenario Planning

Portland Area Comprehensive Transportation System (PACTS) — the Portland Maine Metropolitan
Planning Organization. Updating regional travel demand model with new data (including AirSage),
adding a truck model, and multiclass Dynamic Traffic Assignment (DTA) including differentiation
between cash toll and transponder payments.

Loudoun County Virginia Dynamic Traffic Assignment — Enhanced subarea travel demand model to
include Dynamic Traffic Assignment (Cube). Model being used to better understand impacts of
roadway expansion on induced travel.

Vermont Agency of Transportation-Enhanced statewide travel demand model to evaluate travel
impacts of closures and delays resulting from severe storm events. Model uses innovate Monte Carlo
simulations process to account for combinations of failures.

California Air Resources Board — Led team including the University of California in $250k project that
reviewed the ability of the new generation of regional activity-based models and land use models to
accurately account for greenhouse gas emissions from alternative scenarios including more compact
walkable land use and roadway pricing. This work included hands-on testing of the most complex
travel demand models in use in the U.S. today.

Climate Plan (California statewide) — Assisted large coalition of groups in reviewing and participating
in the target setting process required by Senate Bill 375 and administered by the California Air
Resources Board to reduce future greenhouse gas emissions through land use measures and other
regional initiatives.

Chittenden County (2060 Land use and Transportation Vision Burlington Vermont region) — led
extensive public visioning project as part of MPO’s long-range transportation plan update.

Flagstaff Metropolitan Planning Organization — Implemented walk, transit and bike models within
regional travel demand model. The bike model includes skimming bike networks including on-road
and off-road bicycle facilities with a bike level of service established for each segment.

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mobility
Chicago Metropolis Plan and Chicago Metropolis Freight Plan (6-county region)— developed
alternative transportation scenarios, made enhancements in the regional travel demand model, and used
the enhanced model to evaluate alternative scenarios including development of alternative regional
transit concepts. Developed multi-class assignment model and used it to analyze freight alternatives
including congestion pricing and other peak shifting strategies.

Municipal Planning

City of Grand Rapids — Michigan Street Corridor — developed peak period subarea model including
non-motorized trips based on urban form. Model is being used to develop traffic volumes for several
alternatives that are being additional analyzed using the City’s Synchro model

City of Omaha - Modified regional travel demand model to properly account for non-motorized trips,
transit trips and shorter auto trips that would result from more compact mixed-use development.
Scenarios with different roadway, transit, and land use alternatives were modeled.

City of Dublin (Columbus region) — Modified regional travel demand model to properly account for
non-motorized trips and shorter auto trips that would result from more compact mixed-use
development. The model was applied in analyses for a new downtown to be constructed in the Bridge
Street corridor on both sides of an historic village center.

City of Portland, Maine — Implemented model improvements that better account for non-motorized
trips and interactions between land use and transportation, and applied the enhanced model to two
subarea studies.

City of Honolulu — Kaka’ako Transit Oriented Development (TOD) — applied regional travel demand
model in estimating impacts of proposed TOD including estimating internal trip capture.

City of Burlington (Vermont) Transportation Plan — Led team that developing Transportation Plan
focused on supporting increased population and employment without increases in traffic by focusing
investments and policies on transit, walking, biking and Transportation Demand Management.

Transit Planning

Regional Transportation Authority (Chicago) and Chicago Metropolis 2020 — evaluated alternative
2020 and 2030 system-wide transit scenarios including deterioration and enhance/expand under

alternative land use and energy pricing assumptions in support of initiatives for increased public
funding.

Capital Metropolitan Transportation Authority (Austin, TX) Transit Vision — analyzed the regional
effects of implementing the transit vision in concert with an aggressive transit-oriented development
plan developed by Calthorpe Associates. Transit vision includes commuter rail and BRT.

Bus Rapid Transit for Northern Virginia HOT Lanes (Breakthrough Technologies, Inc and
Environmental Defense.) — analyzed alternative Bus Rapid Transit (BRT) strategies for proposed
privately-developing High Occupancy Toll lanes on I-95 and I-495 (Capital Beltway) including
different service alternatives (point-to-point services, trunk lines intersecting connecting routes at in-
line stations, and hybrid).

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mobility

Roadway Corridor Planning

I-10 El Paso — In work for El Paso County, reviewed proposed J-10 expansion in downtown El Paso
and developed and modeled conceptual alternatives that involved less widening.

1-30 Little Rock Arkansas — Developed enhanced version of regional travel demand model that
integrates TransCAD with open source Dynamic Traffic Assignment (DTA) software, and used to
model I-30 alternatives. This model models freeway bottlenecks much more accurately than the base
TransCAD model.

South Evacuation Lifeline (SELL) — In work for the South Carolina Coastal Conservation League,
used Dynamic Travel Assignment (DTA) to estimate evaluation times with different transportation
alternatives in coastal South Caroline including a new proposed freeway.

Hudson River Crossing Study (Capital District Transportation Committee and NYSDOT) — Analyzing
long term capacity needs for Hudson River bridges which a special focus on the I-90 Patroon Island
Bridge where a microsimulation VISSIM model was developed and applied.

PUBLICATIONS AND PRESENTATIONS (partial list)

DTA Love: Co-leader of workshop on Dynamic Traffic Assignment at the June 2019 Transportation
Research Board Planning Applications Conference.

Forecasting the Impossible: The Status Quo of Estimating Traffic Flows with Static Traffic
Assignment and the Future of Dynamic Traffic Assignment. Research in Transportation Business and
Management 2018.

Assessing Freeway Expansion Projects with Regional Dynamic Traffic Assignment. Presented at the
August 2018 Transportation Research Board Tools of the Trade Conference on Transportation
Planning for Small and Medium Sized Communities.

Vermont Statewide Resilience Modeling. With Joseph Segale, James Sullivan and Roy Schiff.
Presented at the May 2017 Transportation Research Board Planning Applications Conference.

Assessing Freeway Expansion Projects with Regional Dynamic Traffic Assignment. Presented at the
May 2017 Transportation Research Board Planning Applications Conference.

Pre-Destination Choice Walk Mode Choice Modeling. Presented at the May 2017 Transportation
Research Board Planning Applications Conference.

A Statistical Model of Regional Traffic Congestion in the United States, presented at the 2016 Annual
Meeting of the Transportation Research Board.

MEMBERSHIPS/AFFILIATIONS
Associate Member, Transportation Research Board (TRB)

Member and Co-Leader Project for Transportation Modeling Reform, Congress for the New Urbanism
(CNU)

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Message

From: Parikh, Jitesh (FHWA) [Jitesh.Parikh@dot.gov]

Sent: 8/5/2022 10:42:41 AM

To: Perez, Keilyn (FHWA) [Keilyn.Perez@dot.gov]; Mar, Jeanette (FHWA) [Jeanette.Mar@dot.gov]; Vaughn-Fair, Sharon
(FHWA) [Sharon.Vaughn-Fair@dot.gov]; Hansen, Christopher (FHWA) [christopher.hansen@dot.gov]

Subject: FW: Governor Hogan Calls on President Biden, Secretary Buttigieg to Reverse Federal Highway Administration

Decision to Delay Traffic Relief Plan For American Legion Bridge and Capital Beltway

Importance: High

From: Shepherd, Gloria (FHWA) <Gloria.Shepherd@dot.gov>

Sent: Friday, August 5, 2022 10:21 AM

To: Biondi, Emily (FHWA) <Emily.Biondi@dot.gov>

Ce: Murrill, Gregory (FHWA) <Gregory.Murrill@dot.gov>; Parikh, Jitesh (FHWA) <Jitesh.Parikh@dot.gov>; Gavin, James
(FHWA) <james.gavin@dot.gov>; Cogburn, Megan (FHWA) <megan.cogburn@dot.gov>; Perez-Arrieta, Stephanie
(FHWA) <s.perez-arrieta@dot.gov>; Rowe, Anne (FHWA) <anne.rowe@dot.gov>

Subject: FW: Governor Hogan Calls on President Biden, Secretary Buttigieg to Reverse Federal Highway Administration
Decision to Delay Traffic Relief Plan For American Legion Bridge and Capital Beltway

Importance: High

FYI

From: Gates, Angela (FHWA) <Angela.Gates@dot.gov>

Sent: Friday, August 5, 2022 10:19 AM

To: Pollack, Stephanie (FHWA) <Stephanie.Pollack@dot.gov>; Shepherd, Gloria (FHWA) <Gloria.Shepherd@dot.gov>;
Fleury, Nicolle (FHWA) <Nicolle.Fleury@dot.gov>; Benjamin, Randall (FHWA) <randall.benjamin@dot.gov>; Torres Cruz,
Coral (FHWA) <coral.torrescruz@dot.gov>

Cc: Sosa, Mayela (FHWA) <Mayela.Sosa@dot.gov>; Torrey, Derek (FHWA) <derek.torrey@dot.gov>; Jordan, Yolonda
(FHWA) <Yolonda.Jordan@dot.gov>; Singer, Nancy (FHWA) <Nancy.Singer@dot.gov>; Gaffney, Neil (FHWA)
<neil.gaffney@dot.gov>; Williams, Diana (FHWA) <diana.williams@dot.gov>

Subject: Governor Hogan Calls on President Biden, Secretary Buttigieg to Reverse Federal Highway Administration
Decision to Delay Traffic Relief Plan For American Legion Bridge and Capital Beltway

Importance: High

Good morning, all. Governor Hogan put out the following press release. We just got a media inquiry on this (I will send
that around separately):
https://governor.maryland.gov/2022/08/05/governor-hogan-calls-on-president-biden-secretary-buttigieg-to-reverse-
federal-highway-administration-decision-to-delay-traffic-relief-plan-for-american-legion-bridge-and-capital-beltway/

Governor Hogan Calls on President Biden,
Secretary Buttigieg to Reverse Federal
Highway Administration Decision to Delay
Traffic Relief Plan For American Legion
Bridge and Capital Beltway

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ANNAPOLIS, MD—Governor Larry Hogan today issued the following statement and sent
a letter calling on President Biden and U.S. Secretary of Transportation Pete Buttigieg to
immediately reverse the acting federal highway administrator’s decision to overrule the
agency’s professional staff and delay the State of Maryland's Traffic Relief Plan for the
American Legion Bridge and the Capital Beltway:

“President Biden and Secretary Buttigieg pledged to support the states’ most critical
infrastructure projects to create jobs and improve the quality of life in our communities. |
united governors from both parties around an infrastructure plan, and held a summit in
Annapolis to help pass the bipartisan infrastructure law.

“But now we have learned that the acting federal highway administrator plans to further
delay Maryland's transformative Traffic Relief Plan. We were completely blindsided by this
action, particularly given that every comprehensive analysis we submitted had already
been reviewed and approved by the agency. In fact, only a few weeks ago, the agency's
professional experts praised our study as a model for other states. This is just the latest
example of how the acting administrator is undermining the law and longstanding
practices that govern the approval of critical state projects. We cannot stand for this
irresponsible and incompetent federal overreach.

“Lam calling on President Biden and Secretary Buttigieg to reverse this acting
administrator's rogue decision and to fulfill the agency's commitments. If action is not
taken to immediately rectify this improper decision, we are prepared to use every tool at
our disposal—up to and including legal action. While we do not want it to come to that,
these reckless and apparently politically-motivated actions may leave us with no other
choice.

“In advancing this project over the past six years, we have already had to overcome
numerous attempts at sabotage by some Montgomery County politicians pandering to a
small minority of pro-traffic activists. State transportation officials have gone above and
beyond to address all of these frivolous concerns over and over again by conducting
extensive public engagement far exceeding regulatory requirements, significantly
reducing impacts, studying alternatives, and expanding multimodal mobility and
connectivity. Yet they continue to try to obstruct a project that an overwhelming majority
of their constituents desperately want.

“On top of that, we have had to contend with two years of unwarranted federal delays.
These delays have increased the cost of the project by more than 20% amid
unprecedented inflation, supply chain issues, labor shortages, and interest rate increases,
potentially costing Maryland taxpayers hundreds of millions of dollars. As a result, | have
directed state transportation officials to initiate the process of applying for a federal
bridge grant to mitigate these federally-driven cost increases.

“This has been called the most important and transformative transportation project for
the National Capital Region in the last 50 years, and with so many Marylanders still stuck
in soul-crushing traffic, we are not going to let politics delay it any further.”

Background Information on FHWA Delays.

The 1-495 & |-270 Managed Lanes Study has been delayed by two years, much of which
was caused directly by the Federal Highway Administration (FHWA).

Delays include:
e Delay of Preliminary Alternatives Workshops: 2-month delay

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° Request for Screened Alternatives Milestone instead of going to Alternatives
Retained for Detailed Study: 3-month delay

° Federal government shutdown in 2019: 1-month delay

° Change of the Alternatives Retained for Detailed Study after other agencies
concurred: 2-month delay

° Draft Environmental Impact Statement Comment Period Extension: l-month delay
° Change in Preferred Alternative, prepare Supplemental Draft Environmental
Impact Statement, and 15-day extension of comment period: 9-month delay

° Separate Final Environmental Impact Statement and Record of Decision: 2-month
delay

° Creating an extra-regulatory “comment” period during the availability period of the

Final Environmental Impact Statement and demanding responses: l-month delay
Previous Actions to Address Misguided FHWA Policies

Members of Congress in both the House and Senate have called on the president and
Secretary Buttigieg to rescind a memo from the acting federal highway administrator
that undermines the bipartisan infrastructure law by restricting the use of transportation
funding for new highway projects. The law specifically contains no provisions at all
restricting or discouraging these projects.

HHH

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Q Voipecenter Memorandum

Subject: INFORMATION: I-495 & I-270 Managed Lanes Study, Date: August 15, 2022
review of MTOC comments and proposed response
From: Don Pickrell and Scott Smith Replyto \V-320

To: Gloria Shepherd
Associate Administrator for Planning, Environment and
Realty, FHWA

Thru: Gregg Fleming
Director,
Policy, Planning, and Environment Technical Center

The following documents were reviewed:
1. Letter from Benjamin Ross, Chair, Maryland Transit Opportunities Coalition to Polly Trottenberg,
July 11, 2022, including attachment entitled “Evidence of Possible Scientific Fraud in Toll Lane
Traffic Model”
2. Proposed response to MTOC (“MTOC Letter Follow-Up,” August 9, 2022)

Our focus was on differences between the traffic modeling results reported for 2045 under the No-Build and
Preferred (“Build”) alternatives in the SDEIS and FEIS. We do not have an opinion on the merits of the
project.

As part of this review, we consulted the following publicly available documents:
1. Sections of the Supplemental Draft Environmental Impact Statement (SDEIS), dated October 2021
and downloaded on 11 August 2022
a. Chapter 3, Traffic
b. Appendix A, Traffic Evaluation Memo
2. Sections of the Final Environmental Impact Statement (FEIS), dated June 2022 and downloaded on
1] August 2022
a. Chapter 4, Traffic
b. Appendix A, Traffic Evaluation Memo

Findings:

1. Differences in projected traffic volumes and travel times on selected roadway segments between the
SDEIS and FEIS appear to result from three main sources:

a. Minor changes in the modeled representation of the road and highway network mostly
outside the immediate area of the project, which affect the baseline VISSIM calibration of
link-level traffic volumes under the No-Build alternative (see p. 6 of proposed response to
MTOC)

b. Minor changes in the representation of the Preferred or Build Alternative in the MWCOG'
regional travel demand model network (pp. 4-5 of the proposed response to MTOC,
referring to FEIS p. 3-7)

| Metropolitan Washington Council of Governments

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1-495 & I-270 Managed Lanes Study, review of MTOC comments and proposed response

i. Addition of at-grade ramps for ingress and egress between the high-occupancy toll
(HOT) lanes and general-purpose lanes in both directions along the west spur of I-
270

ii. Consolidation of exchange ramps along I-495 between Virginia and Maryland in the
vicinity of the George Washington Memorial Parkway

c. Reconciliation process of forecast travel volumes from the MWCOG regional travel demand
model with those used in localized VISSIM modeling of traffic volumes, particularly in area
approaching the METRO Greenbelt Station. This process, which inherently entails manual
adjustment of forecast volumes, presumably affects the traffic simulation results for both the
no-Build and Build alternatives.

2. These adjustments to the modeled representation of the highway network and io forecast travel
volumes produced different results in the traffic modeling conducted for the SDEIS and FEIS, as
follows:

a. Overall differences in average daily traffic volumes under the No-Build alternative reported
in the SDEIS and FEIS, which are a proxy for regional travel demand patterns, are generally
minor (see [| REF Refl11177609 \* MERGEFORMAT | section, below)

b. In some locations, overall trip volumes were identical in the SDEIS and FEIS, which could
explain the identical volumes on many individual network links in the detailed traffic
simulations conducted for the two documents

c. Although differences in modeled overall travel demand and simulated link-level traffic
volumes are generally minor, these could nevertheless lead to significant differences in
modeled travel times on specific links, as the area is highly congested during peak travel
periods and delay increases non-linearly as traffic volumes grow.

3. Detailed simulations of traffic volumes on individual network links are generally conducted using
fixed traffic volumes produced as part of the traffic assignment stage of a larger-scale, less detailed
regional travel demand model as inputs. Because these detailed simulations generally do not entail
rerouting of trip flows assigned by the regional demand model, they can sometimes predict changes
in delay without accompanying changes in traffic volumes. This is a limitation of detailed traffic
simulation modeling that can be addressed by repeated “iterative” solution of a regional travel
demand model and the traffic simulation models used for more detailed analysis of localized traffic
patterns and travel times, but this process is time-consuming, resource-intensive, and it may be
difficult to reconcile the differing temporal and spatial resolutions of the two models.

a. Some traffic simulation results reported in the SDEIS showed extremely high localized
delays on individual links near the project area, under both the No-Build and Build
alternatives. While in practice some traffic would be expected to re-route around these areas
to avoid encountering extreme delays, the traffic simulation model cannot by itself produce
this expected result, and the modeled delays were not adjusted manually in an effort to
replicate such “real world” behavior.

b. Inresponse to the changes described in item | above, traffic simulation reported in the FEIS
show significantly lower delays on these same facilities. Conspicuously, the changes
incorporated in the FEIS modeling reduce delays to seemingly more realistic levels under
both the No-Build and Build alternatives (see [ REF Refl11177981 \* MERGEFORMAT
] section, below), so avoiding the extreme delays evident in the SDEIS modeling is nor
claimed to result from implementing the Build alternative.

4. Major road improvement projects can often affect the performance of other area roads outside their
immediate area. While these are often beneficial — for example, moving traffic from a congested
arterial to a freeway where the project indirectly improves performance — adverse impacts are also
possible, such as worsening bottlenecks on roads carrying additional traffic toward the freeway.

15 August 2022 [PAGE \* MERGEFORMAT ]

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1-495 & I-270 Managed Lanes Study, review of MTOC comments and proposed response

a.

The SDEIS modeling apparently provided an example of worsening bottlenecks, where
failing to adjust signal timing at intersections on a roadway carrying increased traffic to the
major route the project would affect resulted in extreme queueing and delays.

To identify these impacts and understand their sources, it is often necessary to feed the
traffic volumes and travel times estimated by the more detailed traffic simulation model
back to a model that offers the capability to change trip routings in response to resulting
changes in the travel times used as the basis for the initial route assignments, such as the
VISUM routing model or the MWCOG model.

As indicated above,the process described in 4b is often a complex and time-consuming
effort, given the differences in these models’ temporal resolution of daily travel demand and
in the detail with which they represent the road network. It appears that this feedback step
was not part of the analysis conducted for the FEIS (See FEIS Appendix A, Figure 2-11:
Modeling Methodology).

Both the SDEIS and the FEIS presented detailed traffic volume and delay modeling for the
local network in the project area (see SDEIS Table 3-13 and FEIS Table 4-11), which
consistently showed the preferred alternative leading to a reduction in delay on arterial
streets in the surrounding area. While this result seems plausible, it is unclear how it was
obtained — was it the product of feeding travel times initially estimated by the traffic
simulation model into a routing-type model (or even into the larger MWCOG regional
model) and using the adjusted routings it produced to revise the traffic simulation results, or
of some other process? Furthermore, the reported changes in local network delays are
identical in the SDEIS and FEIS, suggesting that whatever process generated this result in
the SDEIS analysis was not revised as part of the more recent FEIS modeling.

5. We could not find a detailed explanation of the adjustments to projected future travel demands that
were made between the SDEIS and FEIS (see |.c. above), so we cannot assess their plausibility or

validity.

6. MTOC makes two major points in its letter that MD SHA should probably address in detail as pari
of its response letter.

a.

Predicted evening rush-hour travel times on the Beltway from Connecticut Avenue (exit 33)
and Rockledge Drive (exit 1B) eastbound to its junction with 1-95 dropped by 15 and 30
minutes from the SDEIS to the FEIS, but traffic volumes on the ramp from the eastbound
Beltway to I-95 during each of the four evening peak hours are identical in the SDEIS and
FEIS. Some re-routing of both evening commute and through trips would have been
expected to occur in response to such large changes in travel time, and while it’s possible
that such responses did occur, it’s unlikely that they would have left travel volumes
unaffected.

Differences between the No-Build and Build alternative in outbound traffic volumes on
some (4 out of 8) routes carrying traffic from DC toward the northeast during the evening
tush hour changed from the SDEIS to the FEIS in ways that are difficult to reconcile with
the changes in travel speeds the project is expected to produce. In addition, the Build vs. No-
Build differences in traffic volumes on ramps connecting these routes with the Beltway
changed between the SDEIS and FEIS in ways that seem inconsistent with the expected
impact of the project on through and connecting traffic at those interchanges.

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1-495 & I-270 Managed Lanes Study, review of MTOC comments and proposed response

Differences in demand

Table [ SEO Table \* ARABIC ] ADT: differences between the SDEIS (Table 3-2 and 3-3) and FETS (Table 4-2)

Average Daily Traffic (ADT)
Corridor Segment Existing | SDEIS (2045 Projected) | FEIS (2045 Projected)

(2017) No-Build Build No-Build Build

1-270 1-370 to MD 28 226,000 | 274,000 277,000 270,000 284,000
MD 28 to I-270 Spur 259,000 | 308,000 311,000 299,000 320,000
American Legion Bridge 243,000 | 285,000 309,000 280,000 306,000

MD 190 to I-270 Spur 253,000 | 289,000 317,000 283,000 318,000

Between I-270 Spurs 119,000 | 129,000 135,000 126,000 136,000

1-495 MD 355 to I-95 235,000 | 256,000 267,000 250,000 253,000
I-95 to US 50 230,000 | 248,000 250,000 248,000 250,000

US 50 to MD 214 235,000 | 256,000 258,000 256,000 258,000

MD 214 to MD 4 221,000 | 249,000 251,000 249,000 251,000

MD 4 to MD 5 198,000 | 223,000 224,000 223,000 224,000

The detailed no-build travel demands SDEIS (Appendix A, page 118) and FEIS (Appendix A, page 737) are
similar, but not identical, consistent with the summarized comparison in [ REF Ref111210207 \*

MERGEFORMAT J].

Congestion results

There are some extremely high travel time indices (calculated as the ratio of peak-period to off-peak travel
time) in the SDEIS, with significant differences in the PM Peak.

Table [ SEQ Table \* ARABIC ] Selected travel time indices, from SDEIS (Table 3-8) and FEIS (Table 4-5)

PM Peak Hour SDEIS (2045 Projected) FEIS (2045 Projected)
Segment No-Build Build No-Build Build
Inner loop VA193 tol- | 6.6 6.9 3.8 4.0
270

Inner loop I-270 to I-95 __| 4.8 3.0 2.8 2.4

Modeled travel times are contained in Table 2 (p 10) in SDEIS appendix A, and Table 5-2A in FEIS

Appendix A.

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[PAGE \* MERGEFORMAT ]

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i Boyd K. Rutherford

MARYLAND DEPARTMENT Lt. Governor
OF TRANSPORTATION James F. Ports, Jr.
Secretary
STATE HIGHWAY Tim Smith, PE.
ADMINISTRATION Administrator

August 19, 2022

Mr. Glenn Harris

Chair

McLean Citizens Association Transportation Committee
PO Box 273

McLean VA 22101

Dear Mr. Harris:

Thank you for your letter to the Virginia Department of Transportation (VDOT) transmitting
questions from the McLean Citizens Association. As several of the questions are related to the
Maryland Department of Transportation State Highway Administration’s (MDOT SHA) I-495 &
I-270 Managed Lanes Study (MLS), VDOT shared your request. I appreciate the opportunity to
respond to the questions related to the MLS. While VDOT will be responding separately to
address questions raised on the I-495 Northern Extension (495 NEXT) project, below are MDOT
SHA’s responses to the questions raised specific to the MLS proposed improvements.

1. Explain [why MDOT] believes the public notice of MDOT’s proposed construction of
the 495 Express Lane/GWMP Ramps in Virginia provided opportunities for “meaningful
public involvement” by Northern Virginian residents living in the vicinity of the 495 and
GWMP interchange and whether this notice “affirmatively solicit{ed] comments in a
manner designed to inform [these residents] who [will undoubtedly] be ... affected by the
proposed” construction of these ramps. If the agencies believe the notice provided did
comply with these CEQ and FHWA standards — specifically with respect to these
Northern Virginia residents -- please explain the basis for this position.

From the outset of the MLS, the Federal Highway Administration (FHWA) and MDOT
SHA developed a comprehensive public involvement and engagement strategy designed
to obtain input from stakeholders around the entire study area, including the Northern
Virginia area. The public engagement strategy combined traditional opportunities for
commenting on the Draft Environmental Impact Statement (DEIS) and Supplemental
DEIS (SDEIS) in addition to wide-ranging outreach to community organizations, elected
officials, and other stakeholders, with particular sensitivity and outreach to identified
environmental justice communities. Refer to the Final Environmental Impact Statement
(FEIS), Chapter 8, and FEIS, Appendix R which can be found online at
https://oplanesmd.com/feis/, The public involvement and engagement process, starting in
early 2018 and continuing to the present, considered the vast diversity of community
resources. In total, 16 large public workshops, seven public hearings including virtual
options, and over 200 community and individual stakeholder meetings have been held.
The Notice of Intent for the MLS Project was first published in the Federal Register on
March 18, 2018.

707 North Calvert St., Baltimore, MD 21202 | 1.833.858.5960 | Maryland Relay TTY 800.735.2258 | roads.maryland.gov

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Mr. Glenn Harris

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Public meetings by VDOT and MDOT SHA throughout both study processes presented
information on the MLS. Below are some specific examples of meetings with Virginia
stakeholders:

May 20, 2019 — 495 NEXT Public Information Meeting — VDOT displays
showed direct ramps from proposed MLS alternatives to the George
Washington Memorial Parkway (GWMP). In addition, MDOT SHA had
representatives at a display and discussion table with MLS related boards and
material to answer citizen questions.

October 5 and 8, 2020 — 495 NEXT Location/Design Virtual Public Hearing
included a slide with MLS alternatives design for the GWMP direct ramps.
MDOT SHA provided MLS related boards and had representatives available to
answer questions.

September 28, 2021- Fairfax County Board of Supervisors Transportation
Committee. MDOT SHA presented on the MLS including the GWMP
interchange and answered questions.

September 29, 2021 — 495 NEXT Virtual Public Informational Meeting.
MDOT SHA presented on the MLS including the GWMP interchange and
answered questions.

February 8, 2022 — VDOT and MDOT presentation to McLean Citizens
Association and answered questions. This included the design at the GWMP
interchange.

June 6 and 7, 2022 — 495 NEXT virtual public meetings. MDOT SHA
presented the on the MLS including the GWMP interchange and answered
questions.

DEIS, SDEIS and FEIS hard copy document availability in Virginia

Dolly Madison Library (McLean, VA) Oct. 1, 2021 — Nov. 30, 2021

VDOT Northern VA District Office (Fairfax, VA) — July 10, 2020 to November
9, 2020

Electronic copies of DEIS, SDEIS, FEIS and all supporting documents on the
Op Lanes Maryland website.

Study/DEIS/SDEIS Public Advertisements — In addition to publishing in the Federal

Register

2018

o Study Newsletter

o Online Digital Ads - July 2018 Public meetings (Dcblack.com, Afro.com,
Eltiempolatino.com, WTOP.com)

o July 2018 Washington Post insert

2019 and 2020 and 2021

o Flyers

o Newspaper print ads (Wash. Post, Frederick News Post, Laurel Leader,
Howard County Times, PG Sentinel, El Tiempo Latino, Wash. Hispanic)

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Postcards — direct mailings
Washington Post postcard insert
Paid social media — Facebook, Instagram, geofencing
Online Digital Ads (Deblack.com, Afro.com, Eltiempolatino.com,
WTOP.com)
o Radio ads (DEIS 2020) (WTOP)
o ©6E-mail Blasts
o MDOT SHA News Releases and Social Media channels
o mails/Letters to elected officials
e Numerous Press Releases
e Ongoing Website updates

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Public Hearings for DEIS and SDEIS were part of the above advertisements:
e DEIS Virtual Public Hearings (available for anyone, anywhere to testify):
o luesday, August 18, 2020;
o Thursday, August 20, 2020;
o Tuesday, August 25, 2020; and
o Thursday, September 3, 2020.
e DEIS In-person Public Hearings:
o Tuesday, September 1, 2020, at Homewood Suites by Hilton (9103 Basil
Court, Largo, MD 20774); and
o Thursday, September 10, 2020, at Hilton Executive Meeting Center (1750
Rockville Pike Rockville, MD 20852).
e SDETS Virtual Public Hearing on November 1, 2021 (available for anyone,
anywhere to testifv)

2. Explain whether VDOT complied with the spirit of its own policy to provide a “full
opportunity for ... participation by the public” and whether it had any responsibility to
alert Northern Virginians residing near the 495/GWMP interchange as to the obvious
impact of Maryland’s planned construction of the ramps within Virginia.

VDOT will provide a response to this question.

3. Weask whether VDOT and MDOT will commit to doing a better job keeping Northern
Virginians residing near the 495/GWMP interchange more fully informed regarding

relevant design plans and amendments to those plans in the future. If so, how will VDOT
and MDOT fulfill this commitment?

MDOT SHA is committed to providing public outreach as the MLS continues
development. We will continue to provide up-to-date information to the public and
stakeholder groups on a regular basis through e-blasts and website updates (at
https://oplanesmd.com) as design is progressed and throughout the construction process.

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Mr. Glenn Harris
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We would encourage anyone interested in updates to sign up on our website at
https://oplanesmd.com/contact/. Additionally, you may contact us to schedule a
community association meeting or for questions or comments at any time.

VDOT will provide a response for 495 NEXT.

4. Are we correct in our understanding that the interchange to be constructed by MDOT
includes two ramps to provide easier access between the express lanes and the exit for
Georgetown Pike - one ramp from southbound express lanes to the general-purpose
southbound lane, allowing traffic to exit onto Georgetown Pike, and one ramp from the
general-purpose northbound lanes to the northbound express lanes? If this is correct, has
VDOT or MDOT considered or conducted any kind of analysis to determine whether,
and to what extent, providing this access might increase cut-through traffic in McLean
neighborhoods by motorists seeking to use the Georgetown Pike ramps to connect with
the Maryland express lanes?

The MLS proposes two ramps at the GWMP for access for the high-occupancy toll (HOT)
lanes:
a. Ramp from the southbound I-495 HOT lanes to the eastbound GWMP and to the
westbound GWMP to the southbound I-495 general purpose lanes ramp planned
to be constructed by 495 NEXT. The westbound GWMP to the southbound I-495
general-purpose lanes ramp to be constructed by 495 NEXT also allows traffic to
access Georgetown Pike.
b. Ramp from the westbound GWMP and from the northbound I-495 general-
purpose lanes to the northbound I-495 HOT lanes.

While traffic from the southbound I-495 HOT lanes that may want to exit at Georgetown
Pike and traffic on the northbound I-495 general purpose lanes, including traffic that
may have entered at Georgetown Pike, may use these ramps, the purpose of these ramps
is to provide an exchange between the Virginia Express Lanes and Maryland HOT lanes
that will allow for a seamless regional network with each state operating its own system
independently.

The traffic analyses completed for 495 NEXT and for the MLS both considered these
ramps. Traffic operations were analyzed along Georgetown Pike between Spring Hill
Road and Douglas Drive for both the no build and build conditions. The results indicate
that all intersections will operate with consistent or improved operations in the build
condition.

5. If Northern Virginians residing near the 495/GWMP interchange have questions/issues
regarding construction of the 495 Express Lane/GWMP Ramps or other MDOT
construction-related work in Virginia, may they contact VDOT and would VDOT be
willing to take responsibility for obtaining answers from MDOT? If not, who,
specifically, at MDOT should residents contact?

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Mr. Glenn Harris
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MDOT SHA would be pleased to receive any questions or correspondence directly from
Northern Virginians regarding the MLS. Please refer to our website
hitps://oplanesmd.com/contact/ for various ways to contact us.

. How tall is the wall that is proposed along Live Oak Drive and how wide is the strip of
land between Live Oak Drive and the wall?

The Noise Analysis Technical Report (NATR), Appendix L of the MLS Final
Environmental Impact Statement (FEIS), found a noise barrier to be reasonable and
feasible for Noise Sensitive Area (NSA) VA-02, which includes receptors along Live Oak
Drive. Refer to FELIS, Chapter 5, Section 5.9 and FEIS, Appendix L which can be found
online at https://oplanesmd.com/feis/.

Based on this preliminary analysis, the noise barrier from approximately the American
Legion Bridge to the area of Rivercrest Drive is anticipated to be 24-28 feet tall relative
to the existing ground and would block lines of sight from the first row of impacted noise
receptors, such as residential land use or trails, to the proposed improvements. Note that
the noise barrier will be at the top of a tall retaining wall, but the distance was provided
from the existing ground for easier understanding. Between the American Legion Bridge
and the area of Rivercrest Drive, the noise barrier is anticipated to be located between
10 to 40 feet from the edge of the existing Live Oak Drive. The barrier will be closest to
Live Oak Drive near the cul de sac at the northern end of Live Oak Drive.

A final noise analysis will be performed during final design phase based on detailed
engineering information in accordance with FHWA guidelines and in accordance with
VDOT guidelines for communities in the project study area in Virginia. A final
determination of noise barrier feasibility, reasonableness, dimensions and locations will
be made in final design.

VDOT will provide a response for 495 NEXT.

Can VDOT or MDOT provide a view of what the 495/GWMP interchange would look
like from the ground perspective, including from various points along Live Oak Drive.
The drawings we have seen offer a birds-eye view, but we haven't seen a view that
illustrates the relative heights of the roads/ramps/bridges. This information would provide
a better understanding of the visual impact on the surrounding community.

VDOT has prepared a Line of Sight Exhibit that depicts representative perspectives along
Live Oak Drive including ramps proposed as part of the MLS. MDOT SHA has prepared
an additional exhibit showing perspectives along Live Oak Drive between the GWMP
and the American Legion Bridge. These exhibits are attached to this letter.

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Mr. Glenn Harris
Page Six

Thank you again for your letter to VDOT. We appreciate the opportunity to respond. If you
have any additional questions or concerns, please feel free to contact Caryn Brookman, I-495 and
1-270 MLS Environmental Program Manager, at cbrookman@mdot.maryland.gov. Ms.
Brookman will be happy to assist you. Of course, you may always contact me directly.

Sincerely,

i“

Aes —). Tad
Jeffrey T. Folden, P.E., DBIA
Director, I-495 and I-270 P3 Office

ce: The Honorable Barbara A. Favola, Senate of Virginia
The Honorable John W. Foust, Fairfax County Board of Supervisors
The Honorable Kathleen J. Murphy, Virginia House of Delegates
Ms. Susan Shaw, Megaprojects Director, Northern Virginia District, VDOT
Mr. Abraham Lerner, Associate Manager Special Projects, VDOT
Ms. Caryn Brookman, Environmental Program Manager, I-495 and I-270 P3 Office,
MDOT SHA

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From: Pollack, Stephanie (FHWA)

To: Murrill, Gregory (FHWA); Arnold, Robert (FHWA); Parikh, Jitesh (FHWA); Torrey, Derek (FHWA); Fleury, Nicolle
(FHWA); Rogers, Andrew (FHWA)

Ce: Shepherd, Gloria (FHWA); Biondi, Emily (FHWA); Cogburn, Megan (FHWA); Vaughn-Fair, Sharon (FHWA)

Subject: FOLLOW UP to Maryland I-495/I-27 MLS FEIS Briefing

Date: Wednesday, June 8, 2022 5:06:19 PM

Attachments: EMH Letter to US DOT - June 2022 - Final (003). pdf

Importance: High

| am attaching a letter that was sent to Secretary Buttigieg today by Friends of Moses Hall about the
Morningstar Tabernacle No. 88 Moses Hall and Cemetery. At the recent briefing | was left with the

impression that there were no outstanding issues with respect to this property and that the project
would have no impacts on this property, but the letter seems to indicate otherwise.

| am also concerned about the position that the letter claims that FHWA is apparently taking, that
cumulative impacts do not include impacts from the initial construction of the highway if that
occurred before passage of NEPA. While that may be the legally correct conclusion, it would seem
to be inconsistent with our broad approach to equity and to issues of restorative justice and so |
would like to understand HCC’s reasoning.

| know that after the briefing | said | was fine with publishing the FEIS but given this letter | need
some additional information to ensure that remains the correct decision and that | can explain the

decision to proceed at this time in light of the concerns stated in this letter.

Stephanie

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1-495 & 1-270 MLS EJ OUTREACH DISCUSSION WITH
CENTER FOR COMMUNITY ENGAGEMENT, ENVIRONMENTAL JUSTICE, AND HEALTH (CEEJH) LAB
MEETING SUMMARY
Date/Time: 10/20/2021
Location: Conference call (C) / Microsoft Teams
Meeting Purpose: | Discussion of MLS, EJ-focused outreach and mitigation

Name Organization Email

Dr. Sacoby Wilson CEEJH Lab (UMD) swilson2@umd.edu

Joe Galarraga CEEJH Lab (UMD) jrgal@terpmail.umd.edu
Stacy Talmadge MDOT SHA (Blackwater) stalmadge@mdot.state.md.us
Erron Ramsey MDOT SHA (RK&K) eramsey@rkk.com

Karen Kahl MDOT SHA (RK&K) kkahl @rkk.com

Brittany Rolf MDOT SHA (RK&K) brolf@rkk.com

Handouts: Powerpoint shared on screen
Outstanding Action Items or Deliverables:

Action Item or Deliverable Responsible Party Target Date
Provide MDOT contact information to Dr. Wilson for CEEJH Lab Erron/Caryn/Karen 10/29/2021
EJ Scorecard input

Notes:

Comments on EJ Analysis
« Dr. Wilson acknowledged that under the previous alternatives there would have been a greater
impact to EJ populations on the top and east side but because there is no action there are fewer
EJ populations.

e He said it is important to identify Environmental Justice populations not only by demographic
characteristics, but by existing overburdened conditions. He referenced Executive Order 14008
and the Justice 40 Initiative under development by the White House and agencies, which helps
define “disadvantaged populations” and focuses on “securing Environmental Justice” and
economic opportunities for disadvantaged populations.

e = Air quality is a big concern in disadvantaged populations because it contributes directly to many
health concerns, which can multiply into other overburdened conditions (i.e. healthcare access
and costs, job flexibility, etc.). Air quality assessment should inform the baseline to use in an air
quality monitoring network.

* He said the 49% comparison to the state may be too high for initially identifying EJ populations
by minority race/ethnicity characteristics.

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Health Impact Assessment

Stressed that a Health Impact Assessment (HIA) is the best way to address Environmental Justice
in documentation. Noted that we’ve already done some of the work for the scoping process.

An HIA would be key to identifying underlying issues related directly or indirectly to traffic
proximity or other exposure and would help target mitigation/ improvements.

Emphasized the importance of considering potential air quality and public health impacts from
transportation projects at a hyperlocal level, as well as SWM and runoff considerations.
Construction impacts should also be considered for shorter term air quality and runoff concerns.
Hyperlocal/mobile air quality monitoring could track exposure risks from potential increase in
combustible byproducts.

Consider coordinating with the State Department of Health about climate change and health
impacts. There is a new tool that Department of Health will be rolling out soon related to this.

Engagement/Outreach Ideas

CASA de Maryland;

Centro de Apollo Familiar;

Local community and transit coalitions;

Faith-based communities ;

Barbershops and beauty salons (Health Advocates In-Reach and Research Campaign (HAIR) from
Maryland Center for Health Equity at UMD; led by Dr. Stephen Thomas, [ HYPERLINK
"“mailto:sbt@umd.edu" ]);

Ethnic food stores;

Small healthcare clinics;

NAACP, Montgomery County, MD branch ([ HYPERLINK "mailto:naacpmont7@aol.com" J);
Interfaith Power and Light (DC.MD.NoVA) —an environmental ministry group.

Mitigation Ideas

Develop a Health Impact Assessment;

Develop a Community Benefits Agreement;

Diesel bus transition to electric/hybrid buses;

Traffic calming, roundabouts and signage to control speeding and increase pedestrian safety in
communities;

Complete Streets;

SWM, especially to address flooding;

Beautification projects.

EJ Score Card for State Agencies

This was an offer/ask of us to provide contact information. They are developing an EJ Score
Card for each state agency using publically available information on agency websites and agency
contacts. Treating MDOT as a whole not considering each modal agency.

They have reached out to MDOT Communications and an email was received from Jeff Folden
on 10/21. They are awaiting a response from MDOT before they publish the EJ Score Card for
the 2019-2020 timeframe. (Not sure who should follow up- Heather Murphy, TSO?)

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